      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 1 of 138




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION


AMANDA CIMILLO, as
Personal Representative of the
Estate of RANDALL JORDAN-APARO,
Deceased and MINOR CHILD APARO
The Natural Child of Randall Jordan-Aparo
By and Through Her Mother and Natural Guardian
Amanda Cimillo,

       Plaintiffs,

vs.                                                CASE NO. 4:16-cv-00584-RH-CAS

ROLLIN AUSTIN, et al.,

      Defendants.
_______________________________________________/

 PLAINTIFFS’ MOTION TO COMPEL, MOTION FOR SANCTIONS, AND MOTION
                     FOR ORDER TO SHOW CAUSE

       Plaintiffs, Estate of Randall Jordan-Aparo, Deceased, by and through its Personal

Representative, Amanda Cimillo, and Minor Child Aparo natural minor child of the deceased

Randall Jordan-Aparo, by and through undersigned counsel, files this Motion to Compel, Motion

for Sanctions Pursuant to Rule 37, and Motion for Order to Show Cause, and states:

                                   Procedural Background

       1.      On October 27, 2017, Plaintiffs filed their Motion to Compel against Defendant

DOC. See ECF 112.

       2.      At the hearing before this Court on December 1, 2017, concerning Plaintiffs’

Motion to Compel, the Court also discussed the Plaintiffs’ Motion to Inspect the originals of

certain records of Defendant DOC. The Court entered its written Order on December 1, 2017,

ordering Defendant DOC as follows: “Originals of requested documents that exist in hard copy
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 2 of 138




must be made available for inspection upon request at a reasonable time—not necessarily by

December 15.” See ECF 125.

         3.       Long overdue at the time was Defendant DOC’s response to Plaintiffs’ Request for

Inspection dated September 20, 2017. See Request for Inspection dated September 20, 2017,

attached hereto as Exhibit A. Plaintiffs did not receive a response, nor did Plaintiffs receive

proposed dates to schedule the inspection of the original documents, DOC Bates 00001-00225,

which included Randall Jordan-Aparo’s medical records, records which are at the heart of the

Plaintiffs’ claims and the Defendants’ defenses. Initially, the only response Plaintiffs received,

which was after the due date of Defendant DOC’s response, was in response to a follow up by

Plaintiffs, inquiring as to when Plaintiffs’ counsel could inspect the records, specifically Randall

Jordan-Aparo’s medical records. Counsel for Defendant DOC simply responded, “I don’t have

them.” See email thread attached hereto as Exhibit B.

         4.       At the Motion to Compel hearing before the Court, the Court instructed Defendant

DOC to produce the originals for inspection and reduced it to writing in its order. 1

         5.       Since December 1, 2017, Plaintiffs have requested to inspect Randall Jordan-

Aparo’s medical records, on several occasions, including January 1, 2018, March 10, 2018, and

March 13, 2018. See Letter dated January 4, 2018, to DOC Counsel, attached as Exhibit C. See

also Letter dated March 13, 2018, to DOC Counsel, attached hereto as Exhibit C-1. Plaintiffs have




1
 Plaintiffs did not move to compel this Request for Inspection in its original Motion to Compel filed in October of
2017. However, in an abundance of caution, Plaintiffs moves to compel in this Motion, and moves for sanctions based
on subsequent attempts to schedule an inspection due to the multiple irregularities and inexplicable inconsistencies in
Randall Jordan-Aparo’s medical records. The Request for Inspection of documents was discussed at the December 1,
2017, hearing and, in response, was addressed by the Court in its December 1, 2017, Order.




                                                          2
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 3 of 138




not been provided any dates to inspect any of the records sought for inspection, DOC Bates

000001-002255 (See Exhibit A), which include the medical file of Randall Jordan-Aparo.

         6.       After conferring on a Motion for Sanctions in March of 2018, counsel for

Defendant DOC stated that Randall Jordan-Aparo’s medical records are lost, but DOC would not

concede that they were destroyed, further leaving Plaintiffs in limbo on their Request for

Inspection.

         7.       This request is especially critical because Defendant DOC has been unable or

unwilling to provide a certified copy of Randall Jordan-Aparo’s medical records, certifying that

they are true, accurate, and are the complete copy of Aparo’s medical records with Defendant

DOC.

              Timeline of Requests made for Randall Jordan-Aparo’s Medical Records

         8.       On September 2, 2014, Plaintiffs requested Randall Jordan-Aparo’s medical

records. See attached Exhibit D. On September 25, 2014, Defendant DOC, through its counsel in

this case, provided Plaintiffs with 217 pages (including a cover letter) of Randall Jordan-Aparo’s

medical records, purporting to be the complete copy of Aparo’s medical records. See P. Martin

letter dated September 25, 2014, on behalf of DOC, attached as Exhibit E. This production was

not the complete copy of Randall Jordan-Aparo’s medical records, but Plaintiffs would not learn

this until late 2017 and 2018. 2 Authenticity of the two following documents became highly

relevant based on subsequent production by DOC in this action:




2
  Undersigned counsel does not allege or believe that Counsel for DOC was aware at the time that the documents
provided and attached to his letter were incomplete and potentially altered. Undersigned counsel is confident Counsel
for Defendant DOC provided the records he was provided.


                                                         3
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 4 of 138




               a.     Emergency Room Record Purporting to describe an Inmate/Post-Use-

       Of-Force Exam. See attached Exhibit F.

               b.     Diagram of Injury, purporting to describe injuries to Randall Jordan-

       Aparo. See attached Exhibit G.

       9.      In March, 2017, Plaintiffs requested, through a Request to Produce, a copy of

Randall Jordan Aparo’s medical records, and other documents related to the DOC and FDLE

investigations of Aparo’s death. Defendant DOC served its response on June 2, 2017. See

Response attached as Exhibit H, at page 3:

               Request 3.: “Any and all Documents and Communications in the
               custody and control of DOC that would comprise the complete
               unredacted medical records maintained DOC for Randal Jordan
               Aparo within the custody and control of DOC certified complete and
               accurate by the custodian of records.

               Response: See Folder H.”

       10.     Defendant DOC produced the same identical medical records in on June 2, 2017,

as it did on September 25, 2014, purporting to be the complete unredacted copy of Randall Jordan-

Aparo’s medical records. Again, as Plaintiffs later learned, this was not the complete copy of

Randall Jordan-Aparo’s medical records with Defendant DOC. Additionally, Defendant DOC

again failed to provide a certification that these records were complete and accurate.

       11.     In response to a different Request to Produce, Plaintiffs requested the investigative

file for Defendant DOC’s investigation of the death of Randall Jordan-Aparo. As part of that file,

Defendant DOC produced the following three medical records of Randall Jordan-Aparo, which

were not previously produced by Defendant DOC and were not contained in Defendant DOC’s

medical record file for Randall Jordan-Aparo. These records include:



                                                 4
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 5 of 138




               a.      Emergency Room Record purporting to describe an Inmate/Post-Use-Of-

       Force Exam. See attached Exhibit I.

               b.      Diagram of Injury, purporting to describe injuries to Randall Jordan-Aparo.

       See attached Exhibit J.

               c.       Chronological Record of Health Care, undated and signed by no healthcare

       provider, purporting to describe the discovery of Randall Jordan-Aparo’s dead body. See

       attached Exhibit K.

       12.     The medical record produced by DOC in response to the 2014 request for medical

records, as well as to the 2017 response, see Exhibit F, contains additional information, as well as

deleted information, rendering it substantially different from the medical record, see Exhibit I,

contained in the investigative file of Randall Jordan-Aparo’s death. Compare Exhibit F with

Exhibit I. For example, after Nurse Pat Lemon signed Exhibit I as the Reviewing Physician,

information was either deleted, or she signed a different document.

       13.     The medical record produced by DOC in response to the 2014 request for medical

records, as well as to the 2017 response, see Exhibit G, contains additional information, as well as

deleted information, rendering it substantially different from the medical record, see Exhibit J,

contained in the investigative file of Randall Jordan-Aparo’s death. Compare Exhibit G with

Exhibit J. For example, the document that Nurse Pat Lemon signed (Exhibit J) that was not

produced to the Plaintiffs in response to the 2014 and 2017 medical record requests and discovery

requests, contains deletions of information and medical description of injury of Aparo that were

written by Nurse Riley. See Exhibit G (deleted “skin intack. Breaths”).




                                                 5
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 6 of 138




        14.     Exhibit K, attached hereto, was never previously provided to the Plaintiffs in the

2014 medical records request, nor was it provided in Randall Jordan-Aparo’s medical file

produced by Defendant DOC in discovery in this matter.

        15.     Exhibits I, J, and K, are unequivocally medical records for Randall Jordan-Aparo,

yet were never produced as part of Randall Jordan-Aparo’s medical file.

        16.     This failure to produce medical records confirms that the medical records file

previously produced twice by Defendant DOC is and was not the complete medical file of Randall

Jordan-Aparo. Further, the deletions and additions of medical records and entries suggests that the

medical records have been altered by Defendant DOC. See generally supra and ¶¶ 12, 13 herein.

        17.     Defendant DOC’s failure to produce Exhibits I, J, and K, to the Plaintiffs

necessitated the Request for Inspection at issue in this Motion.

        18.     Defendant DOC has now informed Plaintiffs that Randall Jordan-Aparo’s medical

file is lost, but will not concede that it has been destroyed.

        19.     Defendant DOC had a duty to maintain Randall Jordan-Aparo’s medical records

from at least five years from the last patient contact. See § 458.331(1)(m), Florida Statutes. Further,

Florida’s medical malpractice law requires records to be kept for at least seven years. Thus by law,

as of at least September 19, 2017, the original records of Randall Jordan-Aparo should have been

preserved. These original records should have been preserved in response to Defendant DOC

receiving Plaintiffs’ Notice of Claim and Notice of Intent letter dated September 2, 2014. See

Exhibit D. Further, On September 20, 2016, Plaintiffs filed the instant lawsuit, providing another

reason why the medical records of Randall Jordan-Aparo, including the originals, should have

been preserved.



                                                   6
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 7 of 138




      Defendant DOC Provided Medical Records to FDLE on the Night of the Death
      of Randall Jordan-Aparo on September 19, 2010, But Omitted Exhibits I and J

       20.     On the night of Aparo’s death, FDLE sequestered his medical records dating back

to approximately May, 2010.

       21.     Defendant DOC omitted Exhibits I and J from the records produced to FDLE.

       22.     Defendant DOC clearly never produced Exhibits I and J to FDLE since, in response

to a federal subpoena issued by the Plaintiffs for records in FDLE’s possession, FDLE did not

produce Exhibits I and J to Plaintiffs.

       23.     Defendant DOC only produced to FDLE the same copies that were produced to the

Plaintiffs in September 2014, and June, 2017. See Emergency Room Record produced to FDLE

by Defendant DOC on September 19, 2010, attached hereto as Exhibit L; See Diagram of Injury

produced to FDLE by Defendant DOC on September 19, 2010, attached hereto as Exhibit M.

The Medical Examiner Received Records from Defendant DOC Not Produced to Plaintiffs

       24.     Defendant DOC provided Exhibits F and G to Dr. Lisa Flanagan, the Medical

Examiner who conducted the autopsy of Randall Jordan-Aparo. See Emergency Room Record

produced to the Medical Examiner by Defendant DOC, attached hereto as Exhibit N; See Diagram

of Injury produced to the Medical Examiner by Defendant DOC, attached hereto as Exhibit O.

However, the Medical Examiner never received Exhibits I and J.

       25.     Curiously, the Medical Examiner received a copy of Exhibit K from Defendant

DOC. See attached Exhibit P. Again, Plaintiffs never received this document from Defendant

DOC as part of Randall Jordan-Aparo’s medical file.

       26.     Defendant DOC has provided different medical records, some of which may have

been altered, to every person or entity that has requested them.


                                                 7
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 8 of 138




       27.     Defendant DOC still has refused to certify that the medical records provided to the

Plaintiffs as the complete medical file of Randall Jordan-Aparo is complete, accurate, and

authentic.

       28.     Defendant DOC has not provided dates for the Plaintiffs to inspect the original

medical records of Randall Jordan-Aparo because it cannot find the records.

       29.     This failure to produce the original pen and ink records is especially concerning

and prejudicial in light of the following:

               a.      Defendant DOC has not certified the medical records of Randall Jordan-

       Aparo has complete, accurate, and authentic.

               b.      It is clear different entities and individuals have received different medical

       records from Defendant DOC, some of which may have been altered.

               c.      Defendant DOC continues to maintain that the originals are lost and will

       not certify that they have been destroyed.

               d.      The “losing” or destruction of these medical records would have either

       violated     Florida   Statutes     on   retention   of   medical   records,   violated   the

       preservation/litigation hold on Aparo’s medical records which Defendant DOC should

       have initiated on September 2, 2014.

               e.      The failure to produce the pen and ink records results in Defendant DOC’s

       inability to explain why some medical records of Randall Jordan-Aparo are not included

       within his medical file; when they were removed from his medical file, and whether any

       other medical records are missing from Aparo’s medical file and it just hasn’t been

       discovered yet by the Plaintiffs.



                                                   8
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 9 of 138




         30.    Thus, Plaintiffs are grossly insecure that they have the complete medical file of

Randall Jordan-Aparo, that there are still some medical records which may have existed or do

exist, but have still not been produced by Defendant DOC, and that nobody at Defendant DOC has

certified that the records produced are the complete medical records file and explain when and

why some medical records were no longer maintained in Randall Jordan-Aparo’s medical file,

which violates Defendant DOC policy as it relates to the maintenance of prisoner medical records.

                     The Court Should Grant Plaintiffs’ Motion to Compel

         Although informally addressed in the Court’s December 1, 2017, Order, Plaintiffs requests

this Court enter an Order Granting Plaintiffs’ Motion to Compel, and award attorney’s fees and

costs associated with the filing of this Motion.

         “A party seeking discovery may move for an order compelling an answer, designation,

production or inspection. This motion may be made if . . . a party fails to produce documents or

fails to respond that inspection will be permitted—or fails to permit inspection—as requested

under Rule 34.” See Fed. R. Civ. P. 37(a)(3)(B)(iv). Here, Plaintiffs served a Request for Inspection

Pursuant to Rule 34. See Exhibit A. Defendant DOC failed to respond as required by the Rule. As

such, Defendant DOC’s objections, to the extent it had any, including scope of the request, are

waived. Nonetheless, Plaintiffs have explained why the Request for Inspection was made. See

supra.

         “The Court where the action is pending may, on motion, order sanctions if . . . a party, after

being properly served with . . . a request for inspection under Rule 24, fails to serves its answers,

objections, or written response.” See Fed. R. Civ. P. 37(d)(1)(a)(ii). Defendant DOC’s conduct is

especially egregious in the facts of this case. The Court has already had a hearing where



                                                   9
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 10 of 138




approximately six different Requests for Production were served on Defendant DOC and

Defendant DOC did not respond. See ECF 112. Here, when Plaintiffs followed up on its Request

for Inspection on November 27, 2017, counsel for Defendant DOC simply responded with “I don’t

have them.” See Exhibit B.

        At the hearing before this Court on December 1, 2017, this matter came up, the Request

for Inspection, despite not being included in the Plaintiffs’ Motion to Compel. The Court addressed

the pending Request for Inspection in its Order, stating “Originals of requested documents that

exist in hard copy must be made available for inspection upon request at a reasonable time—not

necessarily by December 15.” See ECF 125, ¶3. One hundred and sixteen days have passed since

Defendant DOC was ordered to produce the records for inspection, and Defendant DOC still has

not produced any of the records sought to inspect, the pen and ink records, Defendant DOC Bates

00001-002255, which includes the medical file of Randall Jordan-Aparo.

       Defendant DOC’s Affirmative Defenses Should Be Struck In Whole Or In Part

        Plaintiffs have conferred with Defendant DOC on this point, but still has not been provided

any dates or times as to when it can inspect these records. Plaintiffs have provided Defendant DOC

more than enough time to produce these records for inspection. While Defendant DOC claims to

have currently lost the medical records file of Randall Jordan-Aparo, 3 it still will not certify the

records as destroyed because its destruction logs apparently do not state that the medical file of

Randall Jordan-Aparo was destroyed, leaving this issue in limbo. The inspection of these records,

including the medical records of Randall Jordan-Aparo, were not to simply inconvenience



3
  Defendant DOC has not asserted that the other approximately 2000 documents requested for inspection have also
been lost or destroyed, it simply ignored the Request, even after this Court’s Order of December 1, 2017.


                                                      10
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 11 of 138




Defendant DOC and its counsel. There is a legitimate concern that records are missing, certain

records may have been altered, added to, or deleted from at a later date, and that such mishandling

or destruction of these records may have occurred after Defendant DOC received Plaintiffs’ Notice

of Intent and Claim on September 2, 2014, which gave rise to a duty to preserve documents related

to the death of Randall Jordan-Aparo, including specifically his medical records, even though

Defendant DOC already had a statutory duty to preserve such records. See supra. 4 See also Silhan

v. Allstate Insurance Company, 236 F. Supp. 2d 1303, 1307 (N.D. Fla. 2002).

         Defendant DOC has failed to obey the Court’s December 1, 2017, Order permitting

discovery, an order issued under Rule 37(a). Defendant DOC has failed to produce Randall Jordan-

Aparo’s medical records, which it claims are lost and will not certify, but it also has failed to

provide the other approximately 2000 pages of documents Plaintiffs requested to inspect. Plaintiffs

have received no information as to whether these additional approximately 2000 pages of records

exist in their original format, specifically the pen and ink records contained therein, where they are

located, and when they can be inspected, despite the Court’s December 1, 2017, Order.

         The single most important evidence in the case are the medical records of Randall Jordan-

Aparo. These records were relied on by essentially all experts retained in this case as they relate

to Plaintiffs’ claims under the 8th Amendment, 42 U.S.C. §1983, the wrongful death claims and

the ADA and RA claims. Defendant DOC has acknowledged that not all of the medical records

were maintained in Randall Jordan-Aparo’s medical file and not all of the records were produced


4
  Whether the records have been declared “destroyed” or not by Defendant DOC, it is clear that they are gone. The
elements of a spoliation claim are: (1) the existence of a potential civil action; (2) a legal or contractual duty to preserve
evidence which is relevant to the potential civil action; (3) destruction of evidence; (4) significant impairment in the
ability to prove the lawsuit or rebut defenses; (5) a causal relationship between the evidence destruction and the
inability to prove the lawsuit; and (6) damages. Green Leaf Nursery v. E.L.DuPont De Nemours and Co., 341 F.3d
1292, 1308 (11th Cir. 2005).


                                                             11
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 12 of 138




by Defendant DOC through its counsel in this case on September 25, 2014. Plaintiffs cannot even

get a certification that the records produced by Defendant DOC, including the additional records

discovered by the Plaintiffs, which are attached hereto, represent the complete and accurate

medical file of Randall Jordan-Aparo, despite trying to obtain a certificate of completeness since

November 24, 2014. See Andrews letter dated November 24, 2014, attached hereto as Exhibit Q.

Indeed, Defendant DOC cannot represent one way or the other, that Plaintiffs have received every

medical record of Randall Jordan-Aparo, including his extremely critical medical records from

July 1, 2010, to the date of his death. Plaintiffs didn’t even receive the Chronological Record of

Health Care purporting to describe the discovery of Randall Jordan-Aparo’s dead body until June

of 2017, well after this case was filed.

       The failure to produce the original pen and ink medical records for inspection, despite this

Court’s December 1, 2017, Court Order, severely prejudices the Plaintiffs as they cannot

investigate to determine which medical records are or are not contained in Aparo’s medical file,

whether such records were in fact altered, when records may have been removed from the medical

file, by whom, and why those records were removed instead of making a copy and leaving an

original in the medical records file. This information is relevant to Plaintiffs’ claims, but also

relevant to Defendant DOC’s defenses, including specifically its statute of limitations defenses,

Affirmative Defenses Numbers 1 and 5. See ECF 126, pp. 18-19. Plaintiffs first learned that

Randall Jordan-Aparo’s death may have been suspicious from an article which ran in the Miami

Herald in approximately September, 2014. Plaintiffs later received a partial set of Randall Jordan-

Aparo’s medical records, but not a complete set. Despite attempting to obtain a certificate of

completeness from Defendant DOC through its counsel in this case since September 2, 2014,



                                                12
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 13 of 138




including a follow-up request on November 24, 2014, Defendant DOC ignored the request for a

certificate of completeness just like it has ignored Plaintiffs’ Request for Inspection at issue in this

Motion and just like it has ignored the Court’s December 1, 2017, Order. Thus, Defendant DOC’s

defense of statute of limitations should be struck, preventing Defendant DOC from being able to

assert the defense against the Plaintiffs for Defendant DOC’s intentional hampering of Plaintiffs’

attempts to obtain all and a complete copy of Randall Jordan-Aparo’s medical file, including its

failure to produce those medical records and an additional 2000 pages of documents for inspection

to the Plaintiffs.

        Additionally, the Parties have taken substantial depositions in this matter, including several

of the Defendant Nurses and Doctors. Plaintiffs have had to take all of these depositions without a

certificate of completeness from Defendant DOC that Plaintiffs have received all of the medical

records of Randall Jordan-Aparo. The refusal by Defendant DOC to provide this certificate

strongly suggests that there may be additional medical records that have not been produced and

which cannot be found by Defendant DOC because they are “lost” but “not destroyed.” Plaintiffs

can only speculate, but these records are presumably helpful to the Plaintiffs and hurt Defendant

DOC, or else they would have been produced already to the Plaintiffs. Plaintiffs have expended

substantial fees and costs in preparing and attending these depositions and will likely have to retake

many if not all of the depositions once this issue is addressed by this Court and Defendant DOC

answers for its conduct.

        Additionally, Defendant DOC’s other affirmative defenses related to the medical care and

condition of Randall Jordan-Aparo, including the following:

                2. “Section 95.11(10), Florida Statutes, is not applicable to
                   Plaintiff’s ADA and Rehab Act claims against FDC on the


                                                  13
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 14 of 138




          grounds that Aparo’s death was not the result of murder or
          manslaughter, and also on the grounds that he was not disabled,
          he did not have a disability, and he was not a “disabled adult”
          because of his OWR, or for any other reason, at any time during
          his FDC 2009-2010 incarceration.”

       3. “Aparo was not disabled, he did not have a disability, and he was
          not a “disabled adult” based on his OWR or any other medical
          condition.”


       4. “Aparo was not a “disabled adult” as that term is defined by
          statute for purposes of the ADA/Rehab Act, or section
          95.11(10), Florida Statutes, or sections 782.04 and 782.07,
          Florida Statutes (which are cited in section 95.11(10), Florida
          Statutes).”

       6. “At no time during Aparo’s FDC incarceration in 2009-2010 (or
          during his prior incarceration in 2007), was he substantially
          limited in his ability to perform any major life activities.”

       7. “Plaintiff’s claim against FDC under the ADA/Rehab Act fails
          on the grounds that during his FDC 2009-2010 incarceration: (i)
          he never identified himself as having a disability, or being
          disabled, or claim that he was a “disabled adult” because of his
          OWR, or for any other reason; (ii) he was never considered or
          perceived by FDC, by and through its employees, to be disabled,
          or to have a disability, or that he was a “disabled adult” based on
          his OWR, or for any other reason, such that FDC would or should
          have known or learned through the exercise of reasonable care
          and diligence that he had a history of being disabled, or a
          “disabled adult, or that he had a disability based on his OWR; and
          (iii) he never requested accommodations from FDC based on his
          assertion that he was a disabled person, or a “disabled adult”, or
          that he had a disability based on his OWR, or for any other
          reason.”

       8. “FDC, by and through its employees, provided reasonable
          medical care to Aparo for his OWR, and specifically its
          symptoms which included: (i) blood labs to monitor his iron level
          for potential anemia; (ii) giving him iron supplements when
          blood lab results showed him to be slightly anemic; and (iii)
          provided medical care for the several episodes of bleeding from



                                        14
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 15 of 138




                  his fingers and the one purported episode for bleeding from his
                  penis.”

               11. “Aparo’s death was not caused, either directly or indirectly, by
                  the negligent or intentional failure to provide medical care to him
                  at any time during his FDC incarceration in 2009-2010, and
                  specifically from September 15-19, 2010 at Franklin CI.”

               16. “Plaintiff is not entitled to damages based on the alleged acts or
                  omissions of FDC, through its employees, as Aparo died from
                  sudden cardiac arrest caused by bacterial abscesses in his heart
                  and lungs.”

               18. At no time during Aparo’s FDC 2009-2010 incarceration was he
                  ever denied access to medical care or services because of his
                  OWR, or for any other reason.”

See ECF 125, pp 18-21.

       Plaintiffs’ requested prohibition that Defendant DOC be prohibited from asserting its

Affirmative Defenses, 1, 2, 3, 4, 6, 7, 8, 11, 16, and 18, is fair, equitable, and just, based on

Defendant DOC’s egregious conduct, including failing to respond to Plaintiffs’ Request for

Inspection, and Defendant DOC’s refusal to produce 2255 documents for inspection, despite this

Court’s December 1, 2017, Order. These Affirmative Defenses relate to a statute of limitations

defense and the medical condition and care of Randall Jordan-Aparo, i.e., necessarily involve the

medical records of Randall Jordan-Aparo. Although court should impose sanctions no more drastic

than those actually required to protect rights of other parties, Rule 37 makes clear that application

of sanctions is entrusted to discretion of trial judge, and overly lenient sanctions are to be avoided

where inadequate protection of discovery process results. Diaz v. Southern Drilling Corp. (5th Cir.

Tex. Mar. 2, 1970), 427 F2d 1118, cert. denied, (U.S. 1970), 400 US 878. A less severe sanction

would be ineffective, in light of the Court’s December 1, 2017, Order, Defendant DOC’s failure

to provide responses to at least six separate Requests for Production and Interrogatories (See ECF


                                                 15
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 16 of 138




112), DOC’s failure to comply with the Court’s December 1, 2017, Order, and Defendant DOC’s

response through its counsel on November 27, 2017, when Plaintiffs followed up on the Request

for Inspection and counsel simply replied “I don’t have them.” See Exhibit B. Aztec Steel Co. v.

Florida Steel Corp. (11th Cir. Fla. Nov. 4, 1982), 691 F2d 480, cert. denied, (U.S. Mar. 21, 1983),

460 US 1040.

       Defendant DOC has shown that it will not comply with a Court Order compelling

Defendant DOC to produce the requested records for inspection. It is unlikely that even an award

of attorney’s fees and costs would have resulted in Defendant DOC complying with the Court’s

Order of December 1, 2017. Thus, this Court must enter a more severe sanction against Defendant

DOC to deter this type of conduct in the future of this case and generally in this District. Thus,

Plaintiffs request this Court strike all of Defendant DOC’s Affirmative Defenses, or, alternatively,

strike specifically Affirmative Defenses 1, 2, 3, 4, 6, 7, 8, 11, 16, and 18.

                                        CERTIFICATION

       Pursuant to Local Rule 7(b), and Federal Rule of Civil Procedure Rule 37(d)(1)(B),

Plaintiffs certify that they have in good faith conferred or attempted to confer the Defendant DOC

in an effort to obtain the responses and inspection without further court action.


                                     PRAYER FOR RELIEF

       Plaintiffs request the following relief from this Court:

               a.      Strike all of Defendant DOC’s affirmative defenses, or alternatively,

       specifically Affirmative Defenses 1, 2, 3, 4, 6, 7, 8, 11, 16, and 18.




                                                  16
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 17 of 138




         b.      Order Defendant DOC to pay the Plaintiffs’ attorneys’ fees and costs

  associated with the preparing and filing of this Motion, including pursuant to Fed. R. Civ.

  P. 37(d)(3).

         c.      Issue an Order to Show Cause why Defendant DOC should not be held in

  contempt of court for its willful failure to comply with the Court’s December 1, 2017,

  Court Order.

         d.      Issue an Order finding that Defendant DOC no longer has the original

  medical records of Randall Jordan-Aparo, that Defendant DOC cannot certify that

  Plaintiffs have received all of Randall Jordan-Aparo’s medical records created by

  Defendant DOC, and that as a result, there is an inference that there are records that the

  Plaintiffs did not receive that would have helped the Plaintiffs prove their claims and

  documents which were detrimental to Defendant DOC’s defenses that Defendant DOC did

  not produce.

         e.      Alternatively, should the Court decide not to strike all of Defendant DOC’s

  Affirmative Defenses, or strike specifically Affirmative Defenses 1, 2, 3, 4, 6, 7, 8, 11, 16,

  and 18, Plaintiffs request that this Court enter an order compelling Defendant DOC to

  permit access to inspect DOC Bates 000001-002255, and award the Plaintiffs their

  attorneys’ fees and costs associated with the preparing and filing of this Motion.

                                                Respectfully submitted,

                                                The Law Offices of
                                                STEVEN R. ANDREWS, P.A.
                                                822 North Monroe Street
                                                Tallahassee, Florida 32303
                                                T: 850-681‑6416 / F: 850-681‑6984



                                           17
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 18 of 138




                                                     /s/ Ryan J. Andrews
                                                     STEVEN R. ANDREWS (FBN 0263680)
                                                     BRIAN O. FINNERTY (FBN 0094647)
                                                     brian@andrewslaw.com
                                                     RYAN J. ANDREWS (FBN 0104703)
                                                     ryan@andrewslaw.com
                                                     Service: service@andrewslaw.com
                                                     Counsel for Plaintiffs



                         CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by

electronic transmission this 28th day of March, 2018, to:

 W. Peter Martin, Esq.                               Jeffrey S. Howell, Esq.
 Dennis, Jackson, Martin & Fontela, P.A.             Phipps & Howell
 1591 Summit Lake Drive, Suite 200                   201 South Monroe Street, 4th Floor (32301)
 Tallahassee, Florida 32317                          Post Office Box 1351
 peter@djmf-law.com                                  Tallahassee, Florida 32302
 jmauer@djmf-law.com                                 jeff@phipps-howell.com
 jennifer@djmf-law.com                               Margaret@phipps-howell.com
 Attorney for FDOC                                   Attorney for Housholder, Jones a/k/a
                                                     Franklin, Riley & Greene

 Brian C. Keri, Esq.                                 Thomas Thompson, Esq.
 The Law Offices of Brian C. Keri, PA                Mallory R. Bennett, Esq.
                                                     Thompson, Crawford & Smiley
 3375-H Capital Circle NW, Suite 4
                                                     1300 Thomasville Road
 Tallahassee FL 32308                                Tallahassee, FL 32303
 brianckeri@earthlink.net                            tom@tcslawfirm.net
 michellemsmith@earthlink.net                        mallory@tcslawfirm.net
 Attorney for Austin, Brown, Burch, Gillikin,        tcslaw@aol.com
 Hamm, Hampton, Martina & Spangler                   mary@tcslawfirm.net
                                                     lauren@tcslawfirm.net
                                                     Attorney for Choudhary



                                                     /s/ Ryan J. Andrews
                                                     RYAN J. ANDREWS




                                                18
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 19 of 138




   EXHIBIT A
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 20 of 138




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

AMANDA CIMILLO, as
Personal Representative of the
Estate of RANDALL JORDAN-APARO,
Deceased and MINOR CHILD APARO
The Natural Child of Randall Jordan-Aparo
By and Through Her Mother and Natural
Guardian Amanda Cimillo,

        Plaintiffs,

vs.                                               CASE NO. 4:16-cv-00584-RH-CAS

DIANE ANDREWS, ROLLIN AUSTIN,
MITCHELL BROWN, PATRICK BURCH,
A. JONES (aka LUCY FRANKLIN), SENIOR L.P.N,
CHAD EVANS GILLIKIN, AMY GOODWIN,
SENIOR L.P.N, MARTHA GREENE, SENIOR L.P.N,
JAMES HAMM, KEVIN ALLEN HAMPTON,
PAMELA T. HOUSHOLDER, SENIOR R.N.,
JOSHUA MARTINA, OLA MELISSA RILEY,
SENIOR L.P.N, CHRISTOPHER SPANGLER, and
the FLORIDA DEPARTMENT OF CORRECTIONS

      Defendants.
_______________________________________________/

        PLAINTIFF’S REQUEST FOR INSPECTION TO DEFENDANT FLORIDA
          DEPARTMENT OF CORRECTIONS DATED SEPTEMBER 20, 2017

        Plaintiff, Estate of Randall Jordan-Aparo, Deceased, by and through its Personal

Representative, Amanda Cimillo, and Minor Child Aparo the Natural Child of Randall Jordan-

Aparo, by and through the undersigned counsel, and pursuant to Rule 34, Federal Rules of Civil

Procedure, requests for inspection to Defendants, Florida Department of Corrections (DOC) to

produce the original (typed or pen and ink) Documents prepared by DOC in the normal course of

business for inspection of the DOC’s and included in the production in Response to Plaintiffs’

First Request to Produce served on June 2, 2017 containing Bates Stamp 00001 through 002255.



                                              1
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 21 of 138




Such inspection shall occur as required by Rule 34, Federal Rules of Civil Procedure, at a mutually

convenient date/time at Florida Department of Corrections, 501 South Calhoun Street, Tallahassee,

Florida.

                                                     The Law Offices of
                                                     STEVEN R. ANDREWS, P.A.
                                                     822 Monroe Street
                                                     Tallahassee, Florida 32303
                                                     Tel: (850) 681-6416 / Fax: (850) 681-6984

                                                     /s/ Steven R. Andrews________________
                                                     STEVEN R. ANDREWS (FBN 0263680)
                                                     BRIAN O. FINNERTY (FBN 0094647)
                                                     bfinnerty@andrewslawoffice.com
                                                     RYAN J. ANDREWS (FBN 104703)
                                                     ryan@andrewslawoffice.com
                                                     service@andrewslawoffice.com
                                                     Counsel for Plaintiffs




                                                2
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 22 of 138




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by
electronic transmission this 20th day of September, 2017, to:
 W. Peter Martin                                    Jeffrey S. Howell
 Dennis, Jackson, Martin & Fontela, P.A.            Phipps & Howell
 1591 Summit Lake Drive, Suite 200                  201 South Monroe Street, 4th Floor (32301)
 Tallahassee, Florida 32317                         Post Office Box 1351
 peter@djmf-law.com                                 Tallahassee, Florida 32302
 jmauer@djmf-law.com                                jeff@phipps-howell.com
 jennifer@djmf-law.com                              Atty for Goodwin, Housholder, Jones a/k/a
 Atty for FDOC & Andrews                            Franklin, Riley & Greene

 Brian C. Keri
 The Law Offices of Brian C. Keri, PA
 3375-H Capital Circle NW, Suite 4
 Tallahassee FL 32308
 brianckeri@earthlink.net
 michellemsmith@earthlink.net
 Atty for Austin, Brown, Burch, Gillikin, Hamm,
 Hampton, Martina & Spangler

                                                            /s/ Steven R. Andrews _
                                                            STEVEN R. ANDREWS




                                                3
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 23 of 138




   EXHIBIT B
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 24 of 138


From:                      Peter Martin
To:                        Steven R. Andrews
Cc:                        Jessica Mauer; Jennifer Kjellerup; Natalie Sheffield; Lisa Swearengin
Subject:                   RE: Aparo - Original medical records.
Date:                      Monday, November 27, 2017 1:56:38 PM


I don’t have them.

Peter Martin
Dennis, Jackson, Martin & Fontela, P.A.
1591 Summit Lake Loop, Suite 200
Tallahassee, FL 32317
(850) 422-3345
(850) 422-1325 (fax)

From: Steven R. Andrews [mailto:steve@andrewslaw.com]
Sent: Monday, November 27, 2017 1:55 PM
To: Peter Martin
Cc: Jessica Mauer; Jennifer Kjellerup; Natalie Sheffield; Lisa Swearengin
Subject: RE: Aparo - Original medical records.


Peter,


Are you saying that DOC doesn’t have the “pen and ink” records?


                                                          Steven R. Andrews, Esq.
                                                          The Law Offices of Steven R. Andrews, P.A.
                                                          822 North Monroe Street
                                                          Tallahassee, FL 32303
                                                          Phone:                850.681.6416
                                                          Fax:                  850.681.6984
                                                          Email:                Steve@AndrewsLawOffice.com
                                                          E-Service:            Service@AndrewsLawOffice.com
                                                          Website:              www.AndrewsLawOffice.com



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   indirectly, use, disclose, distribute, print or copy any part of this message. If you believe you have received this message in error, please delete it and all copies of it
   from your system and notify the sender immediately by reply e-mail. Thank you.




From: Peter Martin [mailto:Peter@djmf-law.com]
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 25 of 138


Sent: Monday, November 27, 2017 1:25 PM
To: Steven R. Andrews <steve@andrewslaw.com>
Cc: Jessica Mauer <Jessica@djmf-law.com>; Jennifer Kjellerup <Jennifer@djmf-law.com>
Subject: RE: Aparo - Original medical records.

Steve,

As we have discussed previously, we don’t have the “original” set of Aparo’s medical records – we
have the records that FDC provided to us, and which we then produced to you.

However, if you want to send someone to look at the medical records we have – let me know when
they will be coming to our office.

Thanks,

Peter Martin
Dennis, Jackson, Martin & Fontela, P.A.
1591 Summit Lake Loop, Suite 200
Tallahassee, FL 32317
(850) 422-3345
(850) 422-1325 (fax)

From: Steven R. Andrews [mailto:steve@andrewslaw.com]
Sent: Monday, November 27, 2017 10:30 AM
To: Peter Martin
Cc: Jessica Mauer; Jennifer Kjellerup
Subject: Aparo - Original medical records.


Peter,


I would like to send my assistant over today to review the original medical records
before mediation tomorrow. Let me know as soon as possible when she can come
over.



                                  Steven R. Andrews, Esq.
                                  The Law Offices of Steven R. Andrews, P.A.
                                  at The Grove
                                  822 North Monroe Street
                                  Tallahassee, FL 32303
                                  Phone:       850.681.6416
                                  Fax:         850.681.6984
                                  Email:       Steve@AndrewsLaw.com
                                  E-Service:   Service@AndrewsLaw.com
                                  Website:     www.AndrewsLaw.com
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 26 of 138




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privileged information. No confidentiality or privilege is waived or lost by any mistransmission. If you are not the intended recipient, you must not, directly or
indirectly, use, disclose, distribute, print or copy any part of this message. If you believe you have received this message in error, please delete it and all copies of it
from your system and notify the sender immediately by reply e-mail. Thank you.
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 27 of 138




   EXHIBIT C
                Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 28 of 138


                                          The Law Offices of
                                        Steven R. Andrews, P.A.
                                                  Attorneys At Law
Steven R. Andrews, Esq.
Brian O. Finnerty, Esq.                                                                        822 North Monroe Street
bfinnerty@andrewslawoffice.com                                                               Tallahassee, Florida 32303
Ryan J. Andrews, Esq.                                                                         Telephone (850) 681-6416
ryan@andrewslawoffice.com                                                                     Facsimile (850) 681-6984
Natalie A. Sheffield, CP
nsheffield@andrewslawoffice.com
Court Service
service@andrewslawoffice.com
                                                    January 4, 2018

         W. Peter Martin, Esq.
         Dennis, Jackson, Martin & Fontela, P.A.
         1591 Summit Lake Drive, Suite 200
         Tallahassee, Florida 32317

                  Re:       Estate of Randall Jordan-Aparo vs. Austin, et al.
                            Case No.: 4:16-cv-00584-RH-CAS
                            Request for Inspection – dated September 20, 2017

        Dear Peter:

                Per our telephone communication from this morning I want to schedule a date for the
        inspection of the pen and ink copy of the Department of Correction’s medical chart for Randall
        Jordan-Aparo. It has been several months since I filed the Request for Inspection and would like
        to get this completed within in the next couple of weeks.

                I have also just filed a Request for Inspection of the shower stall that Randall Jordan-Aparo
        was taken to after being sprayed with chemical agents on September 19, 2010. If we could work
        on getting this scheduled also it would be greatly appreciated.

               Please have someone from your office contact my Paralegal Lisa Swearengin to coordinate
        an agreeable date and time.

                  Please let me know if you have any questions or concerns.

                                                               Sincerely,

                                                               /s/ Steven R. Andrews

                                                               Steven R. Andrews

        cc:       All counsel of record.

        SRA/las
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 29 of 138




EXHIBIT C-1
              Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 30 of 138

                                                                                                     EXHIBIT

                                               The Law Offices of                              I Cr\
                                            Steven R. Andrews, P.A.
                                                      Attorneys At Law
Steven R. Andrews, Esq.                                                                           822 North Monroe Street
Brian 0. Finnerty, Esq.                                                                         Tallahassee, Florida 32303
bfin11erti@1111drewsl<rwofflce.c11m                                                              Telep/zone (850) 681-6416
Ryan J. A11drews, Esq.                                                                           Facsimile (850) 681-6984
rvan@Jmdrewslmvofflce.com
Natalie A. Sheffield, CP
nslleffleld@1111tirl!ws/uwo(fice.com
Court Service
service!@andrewslawofftce.c:om

                                                        March 13, 2018

           W. Peter Martin, Esq.
           Dennis, Jackson, Martin & Fontela, P.A.
           1591 Summit Lake Drive, Suite 200
           Tallahassee, Florida 32317

                     Re:        Estate ofRandall Jordan-Aparo vs. Austin, et al.
                                Case No.: 4:16-cv-00584-RH-CAS
                                Inspection of Original Pen and Ink Medical Record of Randall Jordan-Aparo
                                Conferral pursuant to Local Rule 7(b)

         Dear Peter:

                  During the deposition of Mrs. Kelley El-Urfali she indicated that Mr. Aparo's original (pen
         and ink) medical records should be housed at the North West Florida Reception Center. I would
         like to request that you make arrangements for my Paralegal Lisa Swearengin and m yself to come
         and inspect and photo copy all records within the medical chart for Randall Jordan-Aparo within
         the next week.

                Please have someone from your office contact my scheduler Robin Humphries to
         coordinate a date and time that is agreeable to both parties.

                    Thank you for your immediate attention to this matter.

                                                                   Sincerely,

                                                                   Isl Steven R. Andrews

                                                                   Steven R. Andrews

         Enclosures

         SRA/las
 Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 31 of 138




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION

AMANDA CIMILLO, as
Personal Representative of the
Estate of RANDALL JORDAN-AP ARO,
Deceased and MINOR CHILD APARO
The Natural Child of Randall Jordan-Aparo
By and Through Her Mother and Natural
Guardian Amanda Cimillo,

       Plaintiffs,

vs.                                                 CASE NO. 4:16-cv-00584-RH-CAS

DIANE ANDREWS, ROLLIN AUSTIN,
MITCHELL BROWN, PATRICK BURCH,
A. JONES (aka LUCY FRANKLIN), SENIOR L.P.N,
CHAD EVANS GILLIKIN, AMY GOODWIN,
SENIOR L.P.N, MARTHA GREENE,, SENIOR L.P.N,
JAMES HAMM, KEVIN ALLEN HAMPTON,
PAMELA T. HOUSHOLDER, SENIOR R.N.,
JOSHUA MARTINA, OLA MELISSA RILEY,
SENIOR L.P.N, CHRISTOPHER SPANGLER, and
the FLORIDA DEPARTMENT OF CORRECTIONS

       Defendants.


       PLAINTIFF'S REQUEST FOR INSPECTION TO DEFENDANT FLORIDA
         DEPARTMENT OF CORRECTIONS DATED SEPTEMBER 201 2017

       Plaintiff, Estate of Randall Jordan-Aparo, Deceased, by and through its Personal

Representative, Amanda Cimi llo, and Minor Child Aparo the Natural Child of Randall Jordan-

Aparo, by and through the undersigned counsel , and pursuant to Rule 34, Federal Ru les of C ivil

Procedure, requests for inspection to Defendants, Florida Department of Corrections (DOC) to

produce the original (typed or pen and ink) Documents prepared by DOC in the normal course of

business for inspection of the DOC's and included in the production in Response to Plaintiffs'

First Request to Produce served on June 2, 2017 containing Bates Stamp 00001 through 002255.
 Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 32 of 138




Such inspection shall occur as required by Rule 34, Federal Rules of Civi l Procedure, at a mutually

convenient date/time at Florida Department of Corrections, 501 South Calhoun Street, Tallahassee,

Florida.

                                                     The Law Offices of
                                                     STEVEN R. ANDREWS, P.A.
                                                     822 Monroe Street
                                                     Tallahassee, Florida 32303
                                                     Tel: (850) 681-6416 I Fax: (850) 681-6984

                                                     Isl Steven R. A ndrews
                                                     STEVEN R. ANDREWS (FBN 0263680)
                                                     BRIAN 0. FINNERTY (FBN 0094647)
                                                     bfinnerty@andrewslawoffice.com
                                                     RYAN J. ANDREWS (FBN 104703)
                                                     ryan@andrewslawoffice.com
                                                     service@andrewslawoffice.com
                                                     Counsel for Plaintiffs




                                                2
 Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 33 of 138




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoi ng has been served by
electronic transmission this 20th day of September, 2017, to:
W. Peter Ma1tin                                     Jeffrey S. Howell
Dennis, Jackson, Martin & Fontela, P.A.             Phipps & Howell
 1591 Summit Lake Drive, Suite 200                  201 South Monroe Street, 4th Floor (3230 I)
Tallahassee, Florida 323 17                         Post Office Box 1351
peter@djmf-law.com                                  Tallahassee, Florida 32302
jmauer@djmf-law.com                                 jeff@phipps-howell.com
jennifer@djmf-law.com                               Atty for Goodwin, Housholder, Jones a/k/a
Atty for FDOC & Andrews                             Franklin, Riley & Greene

Brian C. Keri
The Law Offices of Brian C. Keri, PA
3375-H Capital Circle NW, Suite 4
Tallahassee FL 32308
bri anckeri@ea1th Iink. net
michellemsmith@earthlink.net
Atty for Austin, Brown, Burch, Gillikin, Hamm,
Hampton, Martina & Spangler

                                                            /s/ Steven R. Andrews
                                                            STEVEN R. ANDREWS




                                                3
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 34 of 138




   EXHIBIT D
                  Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 35 of 138

                                                                                                        EXHIBIT

                                                                                                    i     D
                                            The Law Offices of
                                         Steven R. Andrews, P.A.
Steven R. Andrews                                                                             822 North Monroe Street
sn11ilrew.@n11tlrewslawoffiu.c11111
                                                                                            Ttllla/wssee, Florida 32303
Brian 0. Finnerty
bli1111ert1<Wa11rlrews/mvofflce.com                                                          Telepho11e (850) 681-6416
                                                                                              Facsimile (850) 681-6984
                                                    September 2, 2014

          VIA: U.S. CERTIFIED MAIL & Regular U.S. Mail

          Department of Corrections (#7012 1010 0001 3004 7621)
          Attn: Secretary Michael Crews
          501 S. Calhoun Street
          Tallahassee, FL 32399-2500

          Florida Department of Corrections (#7012 1010 0001 3004 7638)
          Reception Medical Center
          Attn: Medical Records
          7765 S. CR 231
          P. 0. Box 628
          Lake Butler, FL 32054-0628

          Florida Department of Financial Services (#7012 1010 000130047614)
          Division of Risk Management
          Attn: Legal Notices
          200 East Gaines Street
          Tallahassee, FL 32399-0336

          Re:          Notice of Claim, Pursuant to Fla. Stat. § 768.28 and Medical Records Request (Inmate
                       is Deceased and D.C. 4-711B is NOT required to be submitted (see Exhibit A)

                       Claimant:     The Estate of Randall Jordan-Aparo, by and th.rough Amanda Cimillo,
                       as Intellded Personal Representative (see Attached Exhibit B) and Parent and
                       Guardian of ~' the natural daughter of Rmulall Jordan-Aparo (see
                       Attached Ex/ti~

                       S.S.#:
                       Date of Birth:
                       Place of Birth:

          To whom it may concern:

                 This letter shall constitute a notice of claim pursuant to Section 768.28, Florida Statutes,
           on behalf of my client, The Estate of Randall Jordan-Aparo, by and through Amanda M. Cimillo,
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 36 of 138




as Parent and Natural Guardian o
Intestate Estate of Randall Jordan- paro.
fees pursuant to 42, U.S.C., 1983, et seq.
criminal practices, falsification of medical records, obstruction of justice, assault, battery, tort
per se, homicide, tort per se manslaughter. Additionally, this claim shall include a claim for
medical malpractice causing death. The facts and circumstances of the death of Randall Jordan-
Aparo were intentionally concealed by employees and agents of the Florida Department of
Corrections for which the Florida Department of Corrections is directly and vicariously liable.

       The facts, events and legal basis for these claims are set forth in Land et al. v. Michael
Crews ;n his official capacity, et al., in U.S.D.C. Case No. 4:14cv-00347-WS-CAS. See the
attached Exhibit D , First Amended Complaint, filed in support of the claims for your reference.

       The individuals to whom this Notice of C laim is directed are set forth below. These
claims are made in their individual and not official capacities:

       1. Diane Andrews;
       2. Sergeant James I. Hamm;
       3. Michael Crews;
       4. Jeffrey Beasley;
       5. Duty Warden, Colonel Timothy Copeland;
       6. Officer Patrick S. Burch;
       7. Lieutenant Roland Austin;
       8. Sergeant Chad Evans Gillikin;
       9. Kenneth Sumpter;
       10. Officer Joshua Martina;
       11. Officer C. Spangler;
       12. Nurse Ola Melissa "Lisa" Riley, L.P.N.;
       13. Nurse Lucy Franklin, L.P.N.;
       14. Nurse Martha Jones Greene, L.P.N.
       15. Dr. Mohammad Choudhary, M.D.;
       16. Dr. Nikom Arunakal, M.D.
       17. Dr. Olugbenga Ogunsanwo, M.D.;
       18. Melinda Miguel;
       19. Dawn Case;
       20. Eddie C. White;
       21. Debbie Carter-Arant;
       22. Officer James Messer;
       23. Officer James Foxworth a/k/a George Edward Foxworth;
       24. Assistant Warden, Wilton Ricky Cloud;
       25. Sergeant Kevin Hampton;
       26. Officer Kenneth Malphurs;
       27. Officer Gary McClain;
       28. Captain Mitchell Brown;
       29. Sergeant Patricia Diane Cicirello;
       30. Nurse Patricia Lemon, A.R.N.P.;
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 37 of 138




       31. Nurse Lynda Adair, SRN, Senior Regional Nurse Supervisor;
       32. Nurse Pamela Housholder, SRN;
       33. Officer C.O. Wallace;
       34. Officer Michael Dale Brown;
       35. A. Kirkland, A.R.N.P.;
       36. Nurse Debra Wright, Health Counselor;
       37. Nurse Amy Goodwin, L.P.N.;
       38. Mindy Kelley, Health Information Officer;
       39. Nurse Sara Greene, R.N.;
       40. Nurse L. Hardy, S.L.P.N.;
       41. Collean D'Acquisto, R.N., Director ofNursing Services;
       42. Officer Kevin Allen Hampton;
       43. Officer Christian Hatchcock;
       44. Officer Ricky Holley;
       45. Officer Elton Moore;
       46. Officer David Wallace; and
       47. Officer Christopher Spangler.

        To those of you named in this letter who are not current employees of the Florida
Department of Corrections (retired, fired, forced resignation, etc.) or who are not supervisory
employees whose statements would be deemed to bind the Florida Department of Corrections,
are free to contact the undersigned to discuss this matter.

        This notice should include a claim for attorney fees and awarded costs, which may well
exceed the sovereign immunity cap which we assert does not apply to Constitutional violations
or civil violations asserting fraud or criminal misconduct. We would request that the Florida
Department of Corrections forward a copy of this letter to all current or former employees listed
above and we recommend such employees retain their own counsel based upon the criminal or
quasi criminal allegations, which will be complained in our complaint. However, do as you
choose.

        Based upon witness interviews and other information, I am prepared to certify that this
office has conducted a good faith investigation of claims of medical malpractice. Further, facts
concerning the medical care and treatment of Randall Jordan-Aparo were intentionally concealed
from the family and certain other law enforcement officers which give rise to an extension to the
applicable statutes of limitations. You may expect this claim to be filed on or before September
18, 2014 in the Federal District Court for the Northern District of Florida.

       This claim involves an incident described in the attached. The Claimants will seek
attorney's fees and damages in excess of statutory limits in the event a 1983 claim is filed.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 38 of 138




                                  Medical Records Request

Dear Sir/Madam:

        This office has been retained to represent the above referenced individual. Pursuant to
Section 766.204, Florida Statutes, please find enclosed a HIPAA Authorization signed by our
client(s) authorizing you to release full and complete copies of all MEDICAL RECORDS, X-
RA VS, PHOTOGRAPHS, as outlined on Exhibit "A" attached hereto, which were
generated as a result of our client's medical care while in the custody of the Department of
Corrections and, in particular, an inmate at the Franklin Correctional Institute from September
1, 2010 up and including the date of his death. To the extent that the homicide of Randall
Jordan-Aparo may be under investigation by various state and federal agencies does not, by
matter of Florida law, allow you to withhold medical records from the mother and natural parent
of Mr. Aparo' s 10 year old child.

        Please provide me with copies of all the records requested above and in as reflected on
the attached Exhibit A.

       Pursuant to Florida Statutes §395.025, addressing patient and personnel records of
licensed healthcare facilities, which in pertinent paii states:

           "Any licensed facility shall, upon written request, and only after
           discharge of the patient, furnish, in a timely manner, without
           delays for legal review, to any person admitted therein for care and
           treatment or treated thereat, or to any such person's guardian,
           curator, or personal representative, or in the absence of one of
           those persons, to the next of kin of a decedent or the parent of a
           minor, or to anyone designated by such person in writing, a true
           and correct copy of all patient records, including X rays, and
           insurance information concerning such person, which records are
           in the possession of the licensed facility, provided the person
           requesting such records agrees to pay a charge."

       Because a personal representative has not yet been appointed for the Estate of Randall
Jordan-Aparo, his records with your facility should be provided to his surviving daughter,
through her mother Amanda Cimillo as she is his next of kin. Since we represent The Estate of
Randall Jordan-Aparo for his surviving daughter regarding this matter, and have attached an
executed HIP AA authorization allowing for us to collect his records, your facility must forward
such records in a timely manner in order to comply with the requirements of the statute.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 39 of 138




       These records should be provided to this office within 10 days of the receipt of this
request. Thank you for your assistance in this matter. If you have any questions feel free to call
me at the number above.

                                                    Sincerely,




                                                    Steven R. Andrews

SRA/ma
Enclosures
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 40 of 138




            EXHIBIT ''A''
        Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 41 of 138



        AUTHORrZATION FOR RELEASE OF PROTECTED HEALTH INFORMATION
                                                                (PHI)

-Section A: This section must be completed for all Authorization
Patient Name:                               Bir.th Date:
Randall Jordan-A aro


                                                                       ccip ient's Com pany Name (if applicable):
                                                                     The Law Offices of Steven R. Andrews, P.A.
P rovider's/Health Plan '' Address:                                  Address:
                                                                     822 North Monroe S treet
City:                                      State:       Zip:          C ity:                                    State:            Zip:
                                                                      Tall ahassee                              FL                32303
This authorization will expire on the following: (Fi ll 111 the date or the event but not both.)
Date:                                  Event:       Litigation

Purpose of disclosure: Florida Statute 766, 42 U.S.C. 1983 and associated criminal statutes

                                     Ocscri lion of information lo be u.sed or disclosed
Is this request for psychotherapy notes? D Yes, then this is the only ite m you may request on this authorization. You must
subm it another authorizaLion for other items below. t8:l No, then ou ma check as man items below as ou need.
Description:                    Date(s): Description:                     Date(s): Description:                      Date(s):
    All Pl II in Medical                    t8:l Medication Sheet(s)                   (gj Labor/ Delivery Sum.
Record                                      (gJ Operative Information                  (gJ OB Nursing Assess
(gJ Admission fonn(s)                       (gJ Special Test/Therapy                   (gJ Postpartum Flow Sheet
cgj Dictation Report(s)                     t8:l Rhythm Strips                         cgj Itemized Bill
cgj Physician Order(s)                      (gj Nursing Information                    cgj U B-92
(gj lntake/Outakc                           l2SJ Transfer Forms                        cgj Other· Entire Record
(gj Clinical Test(s)                        Cgj ER Information
I achowledge, and hereby consent to such, that the released inlormation may contain alcohol, drug abuse, psychiatric, HIV
testing, I !IV results or AIDS information.                      (Initial) If not applicable, check here.

I understand that:
I. I may refuse to sign this authori.i:ation and that it is strictly voluntary.
2 My Lreatmenl. payment, .;nrollment or eligibility for benefits may not be conditioneJ on sign111g this authorization.
J. I may revoke this authorization at any lime in writing, bur if! do, it will not have any affect on any actions rnken prior to
    rcceiv111g the revocation f7unher details may be found in the Notice of Privacy Practices.
4    If the requester or receiver is not a health plan or health care provider, the released information may no longer be
    protected by foderal privacy regulations and may be redisclosed.
S. I under£tancl that 1 may sec and obtain a copy the information described on this form, for a reasonable copy fee, ifl ask
     for it.
6. I get a copy of this form after I sign it.

 Section B: ls the request of PHl for the purpose of marketing?
 If yes, the health Ian or health care rovidcr must complete Section B, otherwise ski to Section C.
                                                                                                                         ID Yes        t8:1No

!Section C: Signatu res
 I have read   l~c   above and authorize the disclosure of the protected health information as stated.

 Signatu c of Patient/Plan Mcm~·IC11ardi;rn/Pnticnl Rcprcscntntivc:                                Date:


 Pri:,: N\ne of Pa~e11l/Paticn(.Representa1i!e:                                                    Relationship to Patient:
                                                                                                   Mnth~r  ol Natural M 111or Ch ild 1•[ Ramlall
  Amanda M. Cunillo. as intended and 1or appointed Personal Rewcsentativc of the
                                                                                                   lordnn-1\pnrn and intended and/or
 I-state of Randall Jordan-Aparo
                                                                     EXHIBIT                       <ippomt~d Personal Kt:pr~scntauvc ol the
                                                                                                   Estate ol Randall Jordan-Aparo



                                                                       !:l
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 42 of 138




        DEPARTMENT OF CORRECTIONS MEDICAL/HOSPTTAL RECORDS OF:
                              Randall Jordan-Aparo
             DATE OF BIRTI-1-            DATE OF DEATH: 09/19/2010
                             SOCIA~ NO.


                  CERTIFICATION OF AUTHENTICITY OF RECORDS

       I, - - - - - - -- - - - - - - - - - - - - - - - ' am hereby charged

with the responsibility of being the custodian of the records for Florida Department of Corrections.

As such, I acknowledge that "the copies of Randall Jordan-Aparo records," for which this

certification is made, are true and complete reproductions of the original or microfilmed records

which are housed with Florida Department of Corrections. The original records were made in the

regular course of business at or near the time of the matter recorded. This certification is given

pursuant to Chapter 395.3025, Florida Statutes (relating to medical records) by the custodian of

records in lieu of the personal appearance of the above named and accordingly has been signed in

the presence of a notary public.




                         Notary Public Signature of Custodian of Records


                              Printed Name of Custodian of Records

                            Commission Expires: _ _ _ _ _ __

                             Commission Number: - - - - - - -




                                                  3
         Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 43 of 138




         DEPARTMENT OF CORRECTION MEDICAL RECORDS OF: Randall Jordan-Aparo
                DATE OF BIRTH- - DATE OF DEATH: 0911912010
                                    SOCT~YNO . :

        DOCUMENT                                     PRODUCED   NO SUCH RECORD EXISTS

 I.     Medical Records

2.      All Billing Records
,..,
_).     Office Notes

4.      Reports of Surgical Procedures

5.      Charts

6.      New Patient Background Forms

7.      Nurses' Notes

8.      Doctors' Notes and Orders

9.      Therapy/Counsel ing Notes

 10.    Insurance Claim Forms

 11.    Insurance Payment Documents

 12.    Incident or Accident Memoranda or Forms

 13.    Laboratory Results

 14.    Diagnostic Test Results

 15.    Photographs, X-Rays, Images

 16.    Correspondence

  17.   Memoranda

  18.   Emergency Care Documentation

  19.   Notes or Documentation from any I Iospital

20.     Patient Account Cards

21.     Consultation Reports

 22.    Prescriptions

 23.    Pharmaceutical Records

 24.    Consent Forms

 25.    Explanation of Procedures Given to Patient
         Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 44 of 138




      DEPARTMENT OF CORRECTIONS MEDICAL/HOSPITAL RECORDS OF: Randall Jordan-
                                    A aro
               DATE OF BIRTH           DATE OF DEATH: 09/19/2010
                        SOCIAL SECURITY NO.:


       DOCUMENT                                               PRODUCED   NO SUCH RECORD EXISTS
26.    Written Instructions to Patient

27.    Any Other Written Information Pe1taining to the
       Patient in Question

28.    All clinical notes

29.    Patient Telephone Messages

30.    Prescription records

31.    Social Security Disability Application Forms

32.    Any/all correspondence from Patient to Physician

33.    Toxicology screens for alcohol or drug use




                     RECORDS CHECK MADE BY:               ~~~~~~~~~~~~~~




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 45 of 138




             EXHIBIT ''B''
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 46 of 138

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                                                                     IN '1111·. ClRCUI I COUR r 01· rI IE
                                                                     SJ·COND JUDICIAL ClRCUl'I IN /\ND
                                                                     fOR LEON COUNTY. rLORID/\


      ll\ RI:..:         The I-slate of:                             CASF l\O. - - -

      RANDALL .JORDA!\-.\ PARO,                                      PROBATE DIVISION

                   Deceased.
                               - - - - - - -I
                                           PETITION FOR ADMINlSTRATION

                   l\:titioncr. A:\L\NDJ\ M. Cll\ Ill I 0. allege-;:

                   l.         P1..·titioner is th1: mother ol                                 . the minor ch ild of the

      Decedent. RJ\NDAI.J . .JORDAN-APARO. Petitioner, on behalf of her minor child. has an

      interest in the above l!stme as lhe natural parent and natural guardian of -

  -                      · the sun i' ing minor child of lhe Decedent. Petitioner's address is

                                              and the name and office address of petitioner's attorney are set

      fonh at the end orthis petition.

                   2.         Decedent. R,\l\DALL JORD/\N-,\PARO. '"hose last knO\\n a<lc..ln:ss ">\as

      17(>0 I li glma~ 67 North. C'arabdlc. f·luri<la                323~2     and. whose age was ?.7 years old and

      whose social security number is                                     died on September 20, 2010 in Franklin

      County. Florie.la and on the date of death Decedent"<; pcrmanl'nl domicile was in care of the

      Florida Department of Corrections. 50 I South Calhoun Street. Tallaha:s~et.:. Flu1 ida 32399-

      2500.

                   :1.        So   rar <ls is known. the Decedent had no surviv111g spou~c and the name.
      address. relationship and <late of bi11h or his on!~ hcncfic.:iary is:

                                                       J>ctiuon lor \dmin istmtinn
                                                111 Re: ht.lie 11i'Ra11dall JnrJan- -\p;u·o
                                                                                                                   EXHIBIT

                                                                                                                     '8
                                                                                                                   - - - - ----
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 47 of 138




                                        Address                      Relationsh ip      Date or Birth




        .+.         \'enu~   of this proceeding is in this eou11l) because           Dcced~nt   \vas

domiciled in this County and the assets. if' recovered. are in this County because the t:swtc

\\ill he seeking recm\!r~ in a '"'rongful death. medical malpractice and other legal causes of

action that   th~   Estate ma) have against the Florida Department of Corn.!ctions and others.

        5.          /\Mi\NDA M. CIMILLO. whose address is

                     and \\ho is qual i lied under the laws of the State of florida to serve as

personal representative of the Decedent"s estate. is entitled to preference in appointment as

personal rcpresentatin! because she is the natural parent and guardian ot'thc sole beneficiary

of the Decedent.

        6.          I Ill' nature an<l approx.imak value of the assets               or this estate    which are

subjl!ct to probate in the State of Horida are unkn0\\11 because they are tort claims for

wrongful death, medical malpractice and other legal causes                        or action   at this time not

asccnaincJ.

        7.          This estate will not be required to fik a Federal anJ Stale Tax Relllrn.

        8.          Alkr cxcn.:isl;! of reasonahk diligence. Petitioner 1s una\varc of any

unn:' okeJ '' i Ils or cot.lil:ils or the DeccJt;nt.

        9.          A   Ci.~rtificJ   cop) of the Death Certificate v.ill be iilcJ scparatcl).

        llndc1 penalties of pe1ju0. I declare that I h.i\ e read the foregoing. and the racts

allegl'U arc true to the best ol"m) knowledgl' and hclicL

                                              P~titiun lor \d1111111s1ra111>11
                                         In lk htal..: nl i{miJ~ll lurdan- \paw
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 48 of 138




          / i.       (
      1\Mi\NDA-M. l'fMll.1.0
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                                                                syt<v"i:N R. ANDRL WS
\..   Pl!titioner                                           A     lorida Bar ~o. 026180
                                                                Thl· r.,m Offices of
                                                                ~II VEN R. ANDRI-\\ S. P.A.
                                                                822 North Monroe.: Stn:ct
                                                                 fal lahassel.!. FL 32303
                                                                (850) 681-6416
                                                                (850) 681-698-1- facsimile
                                                                sand1 C.:\\ s 't1 .mdrc.:\\ shJ\\ ofticc.:.cum

                                                                and

                                                                \\I I I J \M f-. WI ll'J LO( K. Ill
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                                                                .\ tlorn<.:) at
                                                                910 "forth Dll\'t1l Strl..!et
                                                                Tallahassee. rL 32303
                                                                (850) 224-5556
                                                                (850) 681-0943 facsimile
                                                                service((/ ix.nc.:tcom.cnm




                                     Petition lhr 1\u1111nl,1n11lo11
                               In Re: faun~ nl'R1111d11ll Jordn11·1\p11ro
                                            l'Dl?C j o( I
  Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 49 of 138

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                                                                            srCO'.iD JL DICl.\L CIRCl IT l'\J AND
                                                                            FOR U ·Ot\ COL r\ IY. FLORIDA


   I'\ RI :        The Estate of:                                           CASE NO.
                                                                                               -------
   R1\ \JDl\1.1. .JORD.\\J-APARO.                                           PROB/\TI DIVISION

              [kc<.:ascc.J.
                                                               I
    ·~-------------




                           OATH OF PERSONAL REPH.ESF:NTATIVE, AND
                   DF:SlGNATlON AND ACCEPTANCE or RESIDENT AGENT

   STATF OF l<'LORIDA
   COlJ'JTY OF           Pl~ELLAS


   I. A'Vl/\ND/\ .M. CIMILLO. state under oath that:

              I.        I am qualified within the pro\'isions of Sections 733.30~. 733.303 and

   733.304 of the Florida Probate Code to serve as personal n.:prl!sentative of the estate of

   RANDALL JORD/\i\-1\P/\RO. deceased.

              2.        I will !Uithfully administer the l!Statc of the decedent according to law.

              3.        I am a resident of Pinellas County. r tori<la.

              4.        I hcrL·by designate Steven R. /\ndrcvvs. who is a ml!mbcr ol' The Florida

   Bar. \\ho is a n.:sident of l.1.!on County. Florida. \\hose nlfo.:c address is 822 North

   l\fonr<H.! Stred. Tullahassee rJorida 32303 as 111) agent li.ir the service or proct!SS or

   noti<.:c in rn1) m:tion againsl me. cithl.!r in                   111)   rcprcsc111ati\'c capacity. or pcrsunally. if the

   personal action accrued in the administration of the estate.




                      !lath ur l'.:rs<>nal   Rcrr.:~cntati\c   and   lk~    g11:11i,1n and \..:ccpt.111cc 111' Re~idc111 ·\gclll
                                                  In Re: f:statc 111'Randnll Jnrdnn-,\pnm
                                                                     Pagt• I of 2
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 50 of 138




                                                                 i         '&.1 {~
                                                                  AMANDA M. CTMJLLO
                                                                  Afliant


          Sworn Lo and subscribed to before me b; AMANDA M. CIMILLO. Affiant. who is

persona lly known to me or who produced ______ _ _ _ _ as identification on

lhis   _/~/;;}of Seplember. 2014.



                                                                     &M t/~;U/;d
                                                                  Notary Publ ic State of Plorida
                                                                  My Commission
                                                                  Expires:
                                                                                ---------~




                                                     ACCEPTANCE
          r CERTJrY that I           am a permanent resident of Leon County. Florida, and my office
address is as indicated above. I hereby accept lh                          rcgo111g c..lesignalion as Resident Agent.
                            .<;;(-
          Signed this      I <la) or September. 2               4.




                                                                  Tallahassee. FloridCI 12303
                                                                  (850) 681-6416
                                                                     Florida Bar No. 026:1680
                                                                  sandn..:\\ s a undrcwslm\ oflkt: .cnm



               ( )alh   ur l'i.;r"HHd lkpn:~c.:nlali\.; and lksignmion and A<:<:<.:plllnc.:..: ur R.:si(klll l\g.:nt
                                            In lk !-,slat.; of Randnll lordun-1\pnro
                                                            l'ac.: '.!of:!
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 51 of 138




                          FORMAL ADMINISTRATION
                        CHECKLIST FOR OPENING ESTATE

PROBATE CASE NUMBER: 2014-CP-__ DATE OF DEATH: September 20, 2010
ESTATE OF: Randall Jordan-Aparo

ATTORNEY OF RECORD:
Steven R. Andrews, 822 North Monroe Street, Tallahassee, FL 32303
William Whitlock, 910 North Duval Street, Tallahassee, FL 32303

ESTATE:      Testate _ _ _ __           Intestate _ ____;;;X.:;:.__ Ancillary _ _ _ __

1.    Original WILL Filed?        YES           NO _ _            Other
                                                                               ---------
2.    Death Certificate Filed?    YES_K_        NO

3.    Personal Representative- Testate Estate
      Na med in Will
      Selected by Majority              Waivers Attached

4.    Personal Representative- Intestate Estate
      Spouse_ _
      Selected by Majority               Waivers Attached _ __
      Heir Nearest in Degree             Waivers Attached _ __

5.     BOND Approximate Value of Probate Assets$_ _ _ _ _ _ _ _ _ _ __
       Waive by Will_ __
       Waive by Beneficiaries            Waivers Attached
       Motion to Waive Bond Filed with Court _ __
       Court to consider Bond      X
       As Attorney for the Personal Representative, I CERTIFY this 2°d day of September ,
       2014, that I have personally reviewed the foregoing checklist and it is accurate.


CLERK'S NOTES:                           Isl Off{:l/irMv $: o//4,;~o4,   Ill
                                         WILLIAM E. WHITLOCK, Ill
                                         ATTORNEY AT LAW
                                         FLA BAR NO. 0144678
                                         910 N. Duval Street
                                         Tallahassee, Florida 32303
                                         Telephone: (850) 224-5556
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 52 of 138




             EXHIBIT ''C''
             Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 53 of 138




                                                              STATE OF FLORIDA
                                                      DEPARTMENT OF REVENUE
                                              CHILD SUPPORT ENFORCEMENT PROGRAM
OEPARTMCNI
OF REVtNU(

      To: RANDALL W JORDAN-APARO                                                CSE Case No .: 11 936 12489
             1050 BIG JOE RD
             C/O: JEFFCRSON Cl T37895
             MONTICELLO FL 32344-5188




                                                 FINAL ORDER OF PATERNITY
                                                              Summary

     1. The Florida Department of Revenue, Child Support Enforcement Program (DOR), enters this Final Order
        of Paternity (Final Order) establishing paternity for the child(ren) named in Paragraph 4 below.

                                             Findings of Fact and Conclusions of Law

     2. DOR has 1urisdiction over the subject matter of this proceeding pursuan to section 409.256, Florida
        Statutes, because DOR is providing Title IV-D services on behalf of AMANDA M CIMILLO, the Custodial
        Parent of the child(ren) and paternity has not previously been established for the children.

           !ID DOR also has personal jurisdiction over you because you were properly served in Florida with the
                Notice of Administrative Proceeding to Establish Paternity on 12/11/2009

           O DOR also has personal jurisdiction over you because you waived service of the Notice of
             Administrative Proceeding to Establish Paternity by signing a Waiver of Service for Administrative
             Proceedings on

           O Further, you are subject to the jurisdiction of DOR in this proceeding pursuant toss. 48. 193(1 )(e) and
             88.2011, F.S , because you were properly served with the Notice of Administrative Proceeding to
             Establish Paternity outside the state of Flonda and you
                O resided in this state with the child(ren)

                O resided in this state and provided parental expenses or support for the child(ren)
                O cohabilaled with the mother in this stale
                O acknowledged paternity of the child(ren) in this state

                O engaged in sexual intercourse in lhis state which may have resulted rn the conception of the child
                  (ren)
               prior to the commencement or this procee~ing.
               D submitted to the Jurisdiction of this state by consent, by entering a general appearance, or by filing a
                    responsive document having the effect of waiving any contest to personal jurisdiction.

    3.     The child{ren) in Paragraph 4 was not born or conceived while the mother was married.


 CS-OP50     CAPS    Pi'ltN1~UON2rJ:lfl010                                                              EXHIBIT
 " 05100


                                                                                                 I ~
           Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 54 of 138




        4. B<Jsed upon genetic testing results that equal or exceed a 99% probability of paternity, which are hereby
           incorporated by reference and made a part of this Final Order, the Respondent is the legal and biological
           father of the following child(ren):




           The other parent of lhe child(ren) is AMANDA M CIMILLO.

     5. AMANDA M CIMILLO, the Custodial Parent, has custody of the child(ren) or the primary residence of the
        child(ren) is with the Custodial Parent No custody or visitation rights are being determined by this
        administrative proceeding.

     6.   No determination of name change is being made by this administrative proceeding.

     7. The Final Order is being entered without a hearing because:

           O the Respondent consented to this Final Order and waived any further hearing, as shown by the
             Respondent's signature at the end of this Final Order.
           [BJ the Respondent did not request an administrative hearing within the time limits contained in the Notice
                  of Rights section of the Proposed Order of Paternity served on the Respondent. Pursuant toss.
                  409.256(10)(b), F.S., the Respondent is deemed to have waived the right lo request a hearing.
    8     Additional Findings
           Not applicable




    Based upon the findings of Fact and Conclusions of Law and in accordance with section 409.256, Florida
    Statutes, it is ORDERED that.

     A. RANDALL W JORDAN-APARO is the legal and blological father of:




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                Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 55 of 138




             B . Notification of Changes. Within seven (7) days the Respondent shall notify DOR in writing at AOM IN
                 PATERNITY PROCESSING. 19361 U.S. HWY 19 N. STE A, CLEARWATER, FL 33764-0000 of
                 any change in name, Social Security number, residential address, mailing address, employer,
                 employment address, telephone numbers, and driver license number. It will be presumed that the
                 Respondent has received any documents sent by regular U.S. Mail to the most recent mailing
                 address provided.

             C. Additional Provisions
                 Not applicable




         Effective Date. This Final Order will be effective immediately and will remain in effect unless vacated on
         appeal.

   DONE and ORDERED this the                 2 3~   day of   /-..e.io ·              , 20/Q


                                                                          ___..,..,£_...._Z~L~~Jc~~,,,----   Signature


                                                                          Ed Doyle                           Printed Name


                                                                          Service Center Manager             Title

                                                                          Authorized Designee for: Ann Coffin
                                                                          Director, Child Support Enforcement Program
                                                                          Florida Department of Revenue
CS·OI'!)()     ""'"'   PRltlTEO ON 2/W2010
N 05/05
              Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 56 of 138




                                                   CERTIFICATE OF RENDITION

           I certify that a copy of this Final Order of Paternity has been filed in the official records of the Department of
           Revenue and served by regular US mail on the Respondent RANDALL W JORDAN-APARO the
           Respondents address of Record at 1050 BIG JOE RD, C/O: JEFFERSON Cl T37895, MONTICELLO, FL
           32344-5188 this the~yJ. day offa}                     2o/O·
                                                                  •




                                                                                        Janet Theodore
                                                                                      Deputy Agency Clerk




                                                  NOTICE OF RIGHT TO APPEAL


    Any party who is adversely affected by this Final Order of Paternity has the right to ask for Judicial review
    (Section 120.68, Florida Statutes) If you want to request a judicial review, you must complete both of the
    following steps:

            File an original Notice of Appeal within 30 days of the filing date on the order you are appealing as
            prescribed by the Florida Rules of Appellate Procedure, with the Deputy Agency Clerk of the Department of
            Revenue at the following address:

                                              DEPARTMENT OF REVENUE
                                              CHILD SUPPORT ENFORCEMENT PROGRAM
                                              AHENTION DA. C.
                                              P.O. BOX 8030
                                              TALLAHASSEE. FLORIDA 32314-8030




   2. File a copy of the Notice of Appeal, and pay the required filing fee, to the Clerk of the First District Court of
      Appeal or the Clerk of the District Court of Appeal for the district where you live

           Filing with either the DOR Deputy Agency Clerk or the Clerk of a District Court of Appeal is effective when
           the Notice of Appea~ is received, not when it was mailed                        ·




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 57 of 138




            EXHIBIT ''D''
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 58 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 1of36



                    IN THE UNITED ST ATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF FLORIDA TALLAHASSEE
                                     DIVISION



 AUBREY LAND, DAVID CLARK,
 DOUG GLISSON, JOHN ULM,
 JAMES PADGETT and
 CHRISTINA BULLINS,

           Plain tiffs,
VS.                                                CASE NO.: 4: 14-cv-00347-WS-CAS

 MICHAEL CREWS, in his official
 Capacity only, as Secretary of the
 Florida Department of Corrections
 (injunctive relief only), JEFFERY
 BEASLEY and KENNETH
 SUMPTER, MELINDA MIGUEL
 and DAWN CASE, in their
 Individual Capacities,

           Defendants.


                            FIRST AMENDED COMPLAINT

          The Pl aintiffs, AU BREY LAND, DA YID CLARK, DO UG GLI SS ON, JOHN ULM,

JAMES PADGFTT and Cl IRISTINA BULLINS (hereinafter collectively described as Plaintiffs

or "LAND". "CLARK", 'GLISSON", ··ULM". "PADGETT.. and "BULLINS") by and through

their undersigned counsel, hereby sue the Defendants. MICHAEL CREWS, in his official capacity

as Secretary of the rlorida Department of Corrections (hereinafter Defendant "FDOC"); JEFFREY

BEASLEY and KI:.NNETH SUMPTER. in their individual capacities (hereinafter "BEASLEY''

and ··SUMPTER"), and MELINDA MI GU El and DAWN CASE. in their individual capacities

(hereinafter "\.1JGUEL" and "CASE"). for damages and file this First Amended Complaint and

allege:
                                                                                EXHIBIT
                                                                          I .D
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 59 of 138
                Case 4:14-cv-00347-WS-CAS Docum ent 11 Filed 08/27/14 Page 2 of 36




                                               JURISDICTION AND VENUE

          1.        This is a Constitutional claim brought under 42 U.S.C. 1983, by and through The

Freedom of Speech Clause of the First Amendment. The Court has subject matter jurisdiction.'
The acts or omi ssions which caused the Plaintiffs' injuries occurred primarily within the Second

Judicial Circuit of the State o f Florida. Venue lies within the United States District Court for the

Northern District of Florida pursuant to Title 28 U.S.C. §1391. Federal Court jurisdiction is based

on Title 28 U.S.C. § 133 1.

          2.         Thi s 42 U.S.C. 1983 action asserts that the Plaintiffs' flrsf Amendment rights have

been v iolated. That the Plaintiffs have been subjected to retaliation for exercising their F irst

Amendment rights by di sclosing violations of the Eighth Amendment as early as April 2013 and

continuing thereafter, infra.

          3.         Thi s is also an action for injunctive relief against the Defendant, MICHAEL

CREWS in his offici al capacity as Secretary o f the Florida Department o f CotTections (FOOC)

(E'(parte Young, infra).

          4.         T he Plaintiffs seek money damages against Defendant, BEASLEY, SUMPTER ,

MIGUEL and CAS E in their individual capacities.

                                                      DEFENDANT FDOC

           5.                   Defendant, FDOC, is a State agency w hose headquarters are in Tallahassee,




   !his Ct\SL ts likd with kno\\ h:dge of and based upon Bo1 OUJ!.h of Duryea. Pem1sylmma. cl al            1·   Charles J. Guarnieri. 131
  <;, Ct. 2488 (2011) as limii..:d by (iam!lll \ ' Ceballos. 5-17 l <.; 110 (2006). Cotmick \· \/yers. -161 l '-, 138 ( 1983) and Pickering
  v Board of Ed of fownslup I!tgh ~'c/100/ D1s1. 205. 1hese l'lamtifls arc entitled lo lilc this d;um under L .!:>.C. 42 1983 and
  pursuant to rhe Pelilion Clause of 1he First ,/me11dme111 because this dispute bel\veen the Parties involves a matter of public
                                                             or
  concern. i e.. the gross I) negligent or mtcntional death inmates housed b) the Florida Department of Com:ctions. t his action
  docs nnl mcrcl) cons111uuonalt1c 1hc Pla iniim' grievances. l urthcr. th is litigation is not ob1cc1ivcl) baseless. nor docs it seek
  lo interfere din;clly with the no rmal da il) operations o f' 1hc State Agcnc) Defendants. Scc uuachcd Exhibit A (Miami Hernld
  articles and editorinl of May and June, 2014)
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 60 of 138
           Case 4:14· cv 00347-WS-CAS Document 11 Filed 08/27/14 Page 3 of 36




Florida. FDOC is charged with the responsibility of housing inmates sentenced to prison by




                                                 2

Florida judges. At this time, FDOC imprisons approximately l 00,000 men and women at

approximately 70 prisons throughout the State of Florida.

                              DEFENDANT JEFFREY BEASLEY

       6. Defendant JEFFREY BEASLEY is the FDOC's Inspector General and as such is a

decision maker and policymaker whose action may cause a governmental entity to be held liability

for custom or policy or alternatively acts as a "rubber stamp" to a subordinate's recommendation

Defendant BEASLEY is tasked with the responsibility of investigating administrative and criminal

misconduct by FDOC employees. Defendant BEASLEY is sued in his individual capacity.

Defendant BEASLEY is not entitled to the defense of qualified immunity in that Defendant

BF.ASLEY had direct knowledge of prisoner abuse at Franklin Correctional Institute ("FCI") from

Plaintiffs, LAND, CLARK. GLISSON, l ' LM and PADGEIT. concerning the physical abuse of

inmates through the use of retaliatory use of chemical agents based upon the following time line.

                    a.      In April 2013,   BE/\SLl ~ Y   was advised that rDOC was conducting an

investigation concerning prisoner I guard sexual activity, introduction or contraband into the prison,

rctaliator1 beatings of inmates by prison guards, inmate abuse by prison guards. gang activity and

most importantly, the potential death of an inmate at FCI in 20 I 0 ("Kassidy Hill Sex

Investigation'').

                     b.      In May or June 2013, Defendants, BEASLEY and SUMPTER. were
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 61 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 4 of 36




advised Plaintiffs, PADGETT, LAND, GLISSON and ULM, had begun to receive direct

intelligence that there had been an inmate death as a result of the retaliatory use of chemical agents

on a prisoner at FCI in the fall of 2010. Upon inquiry, Plaintiffs, PADGETT, LAND, GLISSON

and ULM, determined that there had been a prior criminal and administrative investigation of the

death of Randall Jordan Aparo which had been closed in approximately



                                                 3

October 2011. At this meeting with Defendant, BEASLEY, the Plaintiffs requested a task force

and additional staffing due to the serious nature of the allegations of abuse of inmates and the

retaliatory application of chemical agents apparently in violation of policy. At this meeting with

Defendant, BEASLEY, it is more likely than not that the Plaintiffs mentioned Randall Jordan

Aparo by name.

                 c.     In September 2013, Plaintiffs, PADGETT, LAND, and ULM, had a face-

to- face meeting with Defendant, BEASLEY, at the DOC Headquarters wherein these three

Plaintiffs directly advised Defendant, BEASLEY, that, as a result of the Kassidy Hill sex

investigation, the Plaintiffs had begun to uncover evidence that FDOC JG employees, Edward

"Eddie" White and Debra Carter-Arrant, were at least subjects of the investigation of the death of

Randall Jordan Aparo which had spun off from the Kassidy Hill sex investigation. The Plaintiffs

caused the death investigation of Randall Jordan Aparo to be reopened. During the September 2013

meeting at the DOC Headquarters, Defendant BEASLEY was advised that the status of FDOC IG

employees, White and Ca1ter-Arrant, may move from being persons of interest in the Aparo death

investigation to subjects or targets of the Aparo death investigation based upon clear evidence of

a cover-up. Additionally, Defendant BEASLEY was advised that the Plaintiffs, PADGETT,

LAND, and ULM, had obtained intelligence that other FCI employees including prison guard

employees, Austin, Hampton, Nunez, and Randall Johnson were involved in a coverup of the true
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 62 of 138
              Case 4:14 cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 5 of 36




circumstances of the death of Randall Jordan Aparo. Specifically, Plaintiffs, PADGETT, LAND,

and ULM, advised Defendant, BEASLEY, that Defendant, Department of Corrections, would be

subject to a "black eye" as a result of the misconduct that they were uncovering during their

investigation. These protected disclosures above constitute protected disclosures for purposes of

the First Amendment and involved matters of substantial public



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importance. See David King v. The State of Florida, Department of Environmental Protection, et

al, 650 F. Supp. 2d 1157 (U.S.D.C., ND 2009)2.

                             d.        Up until September or October 2013, none of the Plaintiffs, LAND,

 PADGETT, GLISSON, or ULM, were provided information or documentation from Defendants

FDOC, MIGUEL, CASE, BEASLEY, and SUMPTER, that Plaintiff, Christina BULLINS, a

Correctional      Probation Supervisor from                   Fort    Lauderdale, Florida, had made multiple

WhistleBlower disclosures to the Defendants, FOOC and MIGUEL, concerning the death of

Randall Jordan Aparo by the unlawful retaliatory application of chemical nerve agents within close

temporal proximity to the death of inmate Aparo which occurred September 19, 20 l 0. Plaintiff,

BULLINS. made her lirst protected disclosure concerning the death or Aparo beginning as early

as October 20 l 0 and continuing through June 2011. The Plaintiffs, LAND, PADGETT, GLISSON,

or ULM. were not advised that Plaintiff, Bl LI TNS. also made vvrittcn disclosures concerning the

death of Randall Jordan Aparo to fo1mer DOC Secretary, Walter McNeil (November 9, 2010),

FDOC Deputy Secretary ol' Health Services, Dr. Olugbenga Ogunsanwo (January 23, 2011 ), and

Assistant Secretar) of FDOC, Russell Hosford (February 28. 2011 ). rurther, none of the Plaintiff<;,

LAND. PADGETr. GLISSON, or ULM, were made aware of the March 14. 2011. Whistle-Blower



   •• ... there may be many cxplanatwns as to \~hy an employee might wmt to rile official complaint against his employer." Plaintiffs
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 liled of!icial complamts wi1h Dcrcndant MIGUEL in carlv 2014" 111/i'a
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 63 of 138
             Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 6 of 36




Complaint filed by Plaintiff, BULLINS, with Defendant, MIGUEL which constitutes a protected

disclosure of a matter or significant public importance. Defendant, MIGUEL denied Plaintiff,

BULLfNS, request for Whistle-Blower status in June 2011. Plaintiff: BULLINS, advised those

individuals and others that her brother, Joseph A Ham, was a witness to the retaliatory application

of chemical agents to Aparo. In retaliation for these disclosures, Plaintiff,




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BULLINS, was the subject of a March 3, 2011 retal iatory incident report submitted to the FDOC

Regional Director and to the FDOC Inspector General's Office due to her "baseless allegations"

concerning the death or Aparo.

                   e.        In December 2013, at the Defendant, FDOC's Christmas party, Defendant,

BEASLEY, threatened Plaintiffs, LAND, GLISSON, ULM and PADGETT, concerning their

Aparo disclosures and that he, Defendant, BF ASLEY, would '"have their ass for it".

                   r.        In December 2013, Defendant, BEASLEY, filed or caused to be filed a

false and retaliatory IA Complaint against Plaintiffs, LAND, GLISSON, ULM and PADGETT,

containing false allegations concerning alleged misconduct by those Plaintiffs during the Kassidy

Ilill investigation 3. That Complaint has been investigated and a final report has been submitted to

Defendant. MIGUEL. as early as June 5, 2014, but Defendant, MIGUEL, has failed to release the

findings of the investigation within the of'licial time period of 180 days since the date of the initial

report.



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   b'idence of Bl::.ASl I Y 's rctalialol) intent concerning the Kass1dy 1lill IA Complaml is that Bl ./\~I I Y assigned FDOC OIG
 Investigator. Dcbrn Cartcr-/\rranl. the FOOC employee Lhal Plamtiffs. PADGETT. L/\ND and Ul M. had indicated was al leasL
 a person of interest in the /\paro death investigation and would possibly become a subject or target of the mvestigation. to
 investigate the false internal affairs complaint filed or caused to he tiled by Defendant. l3F./\SI I Y
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 64 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 7 of 36




               g.     After the Plaintiffs, LAND, GLISSON, ULM and PADGETT, had filed

Whistle-Blower complaints with Defendant, MIGUEL, Defendant, BEASLEY, caused additional

false and retaliatory internal affairs complaints to be filed against Plaintirrs, LAND and CLARK.

               h.     Defendant BEASLEY had knowledge of Plaintiffs, ULM, GLISSON and

LJ\ND's Whistle-Blower complaints made to Defendants MIGUEL and CASE, as well as

knowledge of the investigative reports outlining findings related to the death of Randall Jordan-




                                                6
Aparo and implicating senior FDOC employees. Defendant BEASLEY was also not entitled to the

defense of qualified immunity as a result of direct knowledge of the Aparo homicide. By failing to

provide the Plaintiffs. LAND, ULM and GLISSON with Whistle-Blower protection resulting from

disclosures made to Defendant, BEASLEY, as well as disclosures to Defendants MIGUEL and

CASE, Defendant BEASLEY violated clearly established State and Federal law and did not act in

an objectively reasonable manner. See, Harlow v. Fitzgerald, 457 I.S. 800 (I 982). Thus, Defendant

BEASLEY is not entitled to a defense of qualified immunity in that

Defendant BEAS Le Y. as a result of his prior knoVvledge of the matters contained within the

Whistle-Blower disclosures of Plaintiffs, ULM. GLISSON, and LAND as reflected on Exhibit B

('raped Interview). Dcfondant BEASLEY had actual notice of various violations of the        Ei~hth


Amendment and violations of various Florida Statutes. Rules and Regulations and criminal laws

for \Vhich there ,-.as a consensus of cases of persuasive authority that the disclosures made by

Plaintiffs. LAND. ULM and GLISSON, were such that a reasonable Inspector General could not

have denied the Plaintiffs' Whistle-Blower protection.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 65 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 8 of 36




                 I.             Additionally, Defendant BEASLEY is not entitled to the defense of

qualified immunity in that Defendant BEASLEY knowingly engaged in retaliatory conduct by

filing or causing to be filed false internal affairs complaints in violation of the Plaintiffs' First

Amendment Rights. For example. BEASLEY filed or caused to be filed, after the publication of

the Miami Herald articles. an internal affairs complaint against Plaintiffs, LAND and CLARK

concerning the release of the medical records of inmate Gooden to FDLE without an executed

l IIPAA. Defendant BEASLEY has made numerous public statements within the Department to

his chain of command that FDLE is entitled to receive records in connection with death

investigations without the requirement of a I HPAA release. Defendant BEASLEY is not entitled

to the defense



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of qualified immunity in that Defendant BEASLEY knowingly engaged in retaliatory conduct in

violation of the Plaintiffs' First Amendment Rights by virtue of filing the Gooden internal affairs

complaint against Plaintiffs, LAND and CLARK.

                              DEFENDANT KENNETH SUMPTER

       7. Defendant KENNETH SUMPTER is the FDOC's Deputy Inspector General who is

tasked with the responsibility of investigating administrative and criminal misconduct by FOOC

employees.       Defendant SL'MPTER is sued in his individual capacit).       Defendant BEASLEY

"rubber stamps" recommendations made by Defendant SUMPTER. Defendant SUMPTER is not

entitled to the defense   or qualified immunity in that Defendant SUMPTER had direct knowledge
or the matters set forth in the Taped Interview, (il?fra). although not present at the Taped Interview
and knowledge of other investigative reports concerning the death of Randall Jordan-Aparo.

Defendant SUMPTr R had actual knowledge of inmate abuse both as Chief of Investigations and
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 66 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 9 of 36




as Deputy Inspector General. Defendant, SUMPTER, obtained this knowledge as early as May or

June 2013. By failing to provide the Plaintiffs with Whistle-Blower protection as a result of the

Taped Interview and other interviews given by Plaintiffs, ULM and GLISSON, Defendant

SUMPTER \ iolated clearly established State and Federal law and did not act in an objectively

reasonable manner. See. ffarlow v. FiLzgerald, 457 U.S. 800 (1982). Thus. Defendant SUMPTER

is not entitled to a defense of qualified immunity in that Defendant SUMPTER. as a result of his

prior knowledge of the matters contained within the Taped Interview attached hereto as Exhibit B

and the Kassidy Ilill reports, Defendant SUMPTER had actual notice of various violations of the

Eighth Amendment and violations of various Florida and criminal laws for which there was a

consensus of cases of persuasive authority that the disclosures made in the Taped interview were

such that a reasonable Inspector General could not have denied the Plaintiffs' Whistle-Blower



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protection. Additionally. Defendant SUMPTER is not entitled to the defense of qualified immunity

in that Defendant SU'vtPTER knowingly engaged in retaliatory conduct in violation of the

Plaintiffs' First Amendment Rights.

                              DEFENDANT MELINDA MIGUEL

        8. Defendant MF LINDA MIGUEL is the Chief Inspector General of OIG and serves in

accordance with Florida Statute §20.055 as the Agency Inspector General for the State of Florida.

Defendant MIGUEL repotis directly to the Governor, both administratively and functionally.

Defendant MIGUEL is a decision maker and policymaker whose action may cause a governmental

entity to be held !table for custom or policy or alternatively acts as a ··rubber stamp" to a

subordinate 's recommendation. Further. the     i~xecutive   Office of the Governor acts as a ··rubber

stamp"' for all decisions made b} Defendant MIGUEL. Defendant. \11IGllEL. had actual knowledge

of the matters related to the death of Randall Jordan Aparo in March 20 I 1 as a result of Pia inti ff,
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 67 of 138
          Case 4:14 cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 10 of 36




Christina BULLINS' Whistle-Blower complaint which Defendant. MIGUEL. denied in June 2011.

Defendant MIGUEL had additional actual knowledge as of March 2, 20 14, of a llegations ofho1Tific

inmate abuse leading to inmate deaths as a result of interviews over consecutive days in March

with Plaintiffs. LAND. ULM and GLISSON. (sec LAND's Taped Interview attached as Exhibit

B) made on March 4. 2014. in the Capitol of the State of Florida by Plaintiff LAND. with the

consent of Defendant MIGUEL and Defendant CASE. This interview lasted one hour and 34

minutes and contains virtually the same information provided to Defendant, MIGUEL, provided

by Plaintiffs, ULM and GLISSON. Fm1her, Defendant. MIGUEL, concealed from Plaintiffs,

LAND, ULM and GLISSON, that Plaintiff. BULLINS. had also filed a WhistlcBlower complaint

in the spring of 2011 concerning the same issues. By failing to provide the

Plaintiffs with Whistle-B lower protection as a result of Plaintiffs, LAND. ULM and GLISSON,



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Defendant MIGUEL violated clearly established State and Federal law and did not act in an

objectively reasonable manner. See, Jlar/o·w v. Fitzgerald, 457 U.S. 800 ( 1982). Thus, Defendant

MIGUEL is not entitled to a defense of qualified immunity in that Defendant MIGUEL, as a result

of the Plaintiffs' interviews in March 2014 as well as Plaintiff, BULUNS' interview in March

2011. Defendant, MIGUEL had actual notice of various violations of the Eighth Amendment and

violations of various rlorida and criminal lav;s for v. hich there was a consensus of cases of

persuasive authority that the disclosures made in Plaintiffs, LAND, ULM. GLISSON and

BULLINS. were such that a reasonable Inspector General could not have denied the Plaintiffs'

Whistle-Blower protection. In a Jetter to Plaintiff LAND on March 20. 2014, Defendant OIG. by

and through Defendants MIGUEL and CASC. found that the complaint made by LAND and

memorialized in the Taped Intervie\\ did "not demonstrate reasonable cause to suspect that an

employee or agent of an agency or independent contractor has violated any federal, state or local
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 68 of 138
            Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 11of36




law, rule or regulation thereby creating and presenting a substantial and specific danger to the

public's health, safety or welfare or has committed an act of gross mismanagement, malfeasance,

misfeasance, gross waste of public funds, or gross neglect of duty."

                                 DEFENDANT DAWN CASE

       9.      Defendant DAWN CASE is the Assistant Inspector General for the State of Florida

and she reports directly to Defendant MIGUEL. Defendant MIGUEL "rubber stamps'' CASE's

recommendation as a subordinate of Defendant MIGUEL. Defendant CASE was present at and

participated in the Taped Interview on March 4, 2014. with Plaintiff LAND and Defendant

MIGUEL. By failing to provide the Plaintiffs, LAND, ULM and GLISSON, with Whistle-Blower

protection as a result of their March 2014 interviews, Defendant CASE violated clearly established

State and Federal law and did not act in an objectively reasonable manner. See, Ilarlow v.



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Fitzgerald, 457 U.S. 800 ( 1982). Thus, Defendant CASE is not entitled to a defense of qualified

immunity because Defendant CASE, as Deputy Chief lnspector General, had actual knowledge of

the matters contained in the March 2014 interviews and at least constructive knowledge of the

interview by Plaintiff, BULLINS to Defendant. MIGUEL in 2011.          Thus. Defendant CASE had

actual notice of various violations of the Plaintiffs' First Amendment rights. as well as violations

of various Florida laws and criminal laws for which there was a consensus of cases of persuasive

authority that the disclosures made in the March 2014 interviews of Plaintiffs. LAND, ULM and

GLISSON, as well as the March 2011 interview of Plaintiff, BULLINS, were such that a reasonable

Deputy Chief Inspector General could not have denied the Plaintiffs' WhistleBlower protection.

        10.     As an additional basis to deny both Defendants MIGUEL and CASE the defense of

qualified immunity. Defondants MIGUEL and CASE conducted an investigation of the matters set

forth in the March 2014 statements. Such investigation lasted only 14 days. The crimes reported in
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 69 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 12 of 36




the March 2014 interviews by Plaintiff LAND, ULM and GLISSON when coupled with the

Whistle-Blower complaint filed by Plaintiff. BULLfNS, filed in March 2011 clearly merited an

investigation in excess of two weeks before making an oflicial determination that the Plaintiffs

were not Whistle-Blowers. Defendants, MIGUEL and CASE had four witnesses who

independently corroborated the cruel and unusual punishment administered to Randall Jordan

Aparo which violated clearly established law, was a matter of public concern and evidence of

violation or Florida Criminal Statutes as well as various rules and regulations.

                                  PLAINTIFF AUBREY LAND

        11.    The Plaintiff, AUBREY LAND, is a Senior Law Enforcement Inspector for the

FDOC, Inspector General's Office and has actual knowledge, both as a private citizen and in his



                                                 11

capacity as a Senior Inspector for FDOC, of matters of public concern dealing with the death of

inmates within the Florida Department of Corrections caused by inmate abuse and neglect, in

violation of the Eighth Amendment, and various other violations of State and Federal laws. Plaintiff

LAND, on March 4, 2014, gave an all-party consent taped interview to Defendants, MIGUEL and

CASE Cl'aped Interview, supra).

        12.     In the spring of 2013, September 2013 and December 2013, Plaintiff, LAND, made

disclosures to Defendant BEASLEY concerning inmate abuse at FCI, supra. As a result of such

disclosures, Plaintiff LAND was the subject of a false internal affairs complaint made by or caused

to be made by Defendants Bl:ASLEY and Sl lMPTER. The Taped Interview given to Defendants,

MIGUEL and CASE, Plaintiff LAND has been the subject          or and additional false internal affairs
complaint signed b; or at minimum approved by Defendants BEASLFY and SlTMPTER and at

least with regard to the second false internal affairs complaint. Such complaint \\as approved b)
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 70 of 138
            Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 13 of 36




Defendant MIGUEL all with knowledge of their falsity 4 • Alternatively, Defendant MIGUEL

approved such internal affairs complaint "' ithout proper investigation and review. In either event,

Defendants BEASLEY and SUMPTER made or caused to be made or continued false internal

affairs complaints against Plaintiff LAND in retaliation for Plaintiff LAND's investigation of the

death of inmate Randall Jordan-Aparo and his disclosures of FDOC employee misconduct.

Additionally, Defendants BEASLEY and SUMPTER caused such false internal affairs

investigations to be made or continued knowing that the basis for such investigations were fa lse.




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         13.       Plaintiff LAND is entitled to Whistle-Blower protection as a result of his disclosures

made both as a private citizen and an employee within the course and scope of his employment.

Despite Plaintiff LAND·s request for Whistle-Blower protection from Defendant MIGUEL, such

request was denied in retaliation.

         14.       These disclosures. as well as all Plaintiffs' disclosures, were matters of great public

concern and not merely petty employment grievances. See footnote 1, supra. The retaliation was a

resull   or matters     of public concern and Plaintiff LAND's free speech interest outweighed

Defendant rOOC's internet in promotion efficient public services and his speech played a

substantial part in the retaliation taken against him. This retaliation was pretcxtual and was taken

in close temporal proximity following LAN D's protected activity beginning in the spring of 2013

through December 2013 with regards to the first false internal affairs complaint.


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   One or 1h1.: false internal affairs complaints was tiled two (2) days after a .\11umi llerald article authored b)' Julie Brown
 discussed the death or Sha\\ n Gooden. I hesc internal affairs complaints were liled against Plaintiff LAND and Plaintiff
 CLARK
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 71 of 138
                Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 14 of 36




          15.       Further, the second false internal affairs complaint occurred in close temporal

proximity (three months) to Plaintiff LAND's Whistle-Blower complaint and interview with

Defendants, MIGUEL and CASE. See Kamensky v. Rogelio Dean. et al. 148 Fed. Appx. 878 (I J 1h

Cir. 2005); Anderson v. Burke County, 239 F. 3d 1216 (11th Cir. 200 I).

                                              PLAINTIFF DAVIO CLARK

          16. Plaintiff DA YID CLARK is a District IV Supervisor for District IV investigations

involving misconduct by FDOC employees. Plaintiff CLARK made direct disclosures disclosing

violations concerning investigations of inmate deaths including, but not limited to, the death of

inmate. Shawn Gooden. Plaintiff CLARK 's disclosures were made to Defendants BEASLEY and




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SUMPTER. Plaintiff CLARK found no \ iolations concerning the death of inmate Gooden'.

Plaintiff CLARK made these disclosures to Defendants, BEASLEY and SUMPTER, which were

matters of great public concern and not merely petty employment grievances. 5'ee footnotes 1 and

2. supra and infi·a. In retaliation to Plaintiff CLARK'S disclosures to Defendants BEASLEY and

SUMPTER, Plaintiff CLARK was the subject of a false internal affairs investigation within close

temporal proximity to Plaintiff CLARK's disclosures made b} Defendants BEASLEY and

SUMPTER, as well as in close temporal pro'(imity to Plaintiff CLARK being denied Whistle-

Blower status.




 PlaintiffCLl\RK was present \\hen disclosures \\ere made cm1eerning the death of inmate Aparo to Ddendants 13LASLI· Y and
~l IMPTI R. /\s the result of Plaint• ll's disclosures conci.:rning. inmate Ooodcn. Plaintiff Cl .ARK was thi.: subJCCL of a false mternal
affairs complaint regarding. un al lcged I!IPAA violation Plaintiff I .I\ ND is also the subject uf a folsc in Lanai affairs investigation
concerning allt:gcd I llPAA viol<llions. Both ofthcst: complnints wi.:re retaliatory in natun: and tles1g.11ed to make Plaintiffs CLARK
and l AND ineligible for rc.:I icf under Florida Statute I 12.3 187
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 72 of 138
           Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 15 of 36




                                 PLAINTIFF DOUG GLISSON

       17. Plaintiff DOUG GLISSON is a District III Supervisor for District III investigations

invo lving misconduct by FDOC employees. Plaintiff GLISSON made direct disclosures of

violations of the Eighth Amendrnent and disclosures disclosing violations of State and Federal civil

and criminal statutes in connection with the abuse of inmates including, but not limited to, the death

of inmate, Randall Jordan-Aparo. These disclosures were made to Defendants BEASLEY and

SUMPTER beginning in May 2013 through December 2013. These disclosures were matters of

great public concern and not merely petty employment grievances. See, Footnote 1, supra. Plaintiff

GLISSON's concerns were also made orally to Defendants MIGUEL and CASE in March

2014 and corroborated the Taped Statement of Plaintiff LAND, made subsequently by LAND to

Defendants MIGUEL and CASE. Plaintiff GLTSSON's Whistle-Blower Complaint to Defendants

BEASLEY, SUMPTER and MIGUEL were also corroborated by as well as the 2011 Whistle-

Blower complaint of Plaintiff, BULLINS made to Defendant MIGUEL in March 2011. Plaintiff




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GLISSON is entitled to Whistle-Blower protection as a result of his disclosures made both as a

private citi;:en and an employee within the course and scope of his employment. In retaliation to

such disclosures, Plainti IT GLISSON was made the subject matter of one ( 1) false internal affairs

investigation by Dcl'endants, BEASLEY and SUMPTER in December 2013, as well as being

denied Whistle-Blower status protection in connection with his disclosures to Defendant MIGUEL

and CASE in March 2013 These disclosures were matters of great public concern and not merely

petty employment grievances. See Footnote /, supra. The false internal affairs complaint made
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 73 of 138
            Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 16 of 36




against Plaintiff GLISSON was in close temporal proximity to the protected disclosures made by

Plaintiff GLISSON between May 2013 and December 2013.

                                           PLAINTIFF JOHN ULM

         18. Plaintiff JOHN ULM is a Senior Law Enforcement Inspector for the FDOC, Inspector

General's Office and has actual knowledge, both as a private citizen and in his capacity as a Senior

Inspector for FDOC, of matters of public concern dealing with the death of inmates within the

Florida Department of CorTections caused by inmate abuse and neglect, in violation of the Eighth

Amendment, and various other violations of State and Federal laws. Plaintiff ULM made oral

disclosures of matters of great public concern, both as a private citizen and as an employee of

Defendant FDOC. Plaintiff ULM first made these disclosures in May 2013 through December 2013

to Defendant BEASLEY. See King, supra. In retaliation, Plaintiff ULM has been the subject of two

false internal affairs complaints signed by or authorized by Defendants BEASLEY and

SUMPTER. 6 Defendants BEASLEY and SUMPTER made or caused to be made false internal

affairs complaints against Plaintiff ULM in retaliation for Plaintiff ULM's




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investigation of the death of inmate Randall Jordan-Aparo. Plaintiff ULM is entitled to Whistle-

Blower protection as a result of his disclosures made both as a private citizen and an employee to

Defendants BEASLEY, SUMPTER, CASE and MIGUEL within the course and scope of his

employment. Plaintiff ULM was denied Whistle-Blower status by Defendant MIGUEL for these

disclosures in retaliation for the Aparo death disclosures. These disclosures were matters of great



<>Plaintiffs LAND. GLISSON and ULM. made disclosures both as private citizens and as employees of Defendant FDOC to an
inspector general employed by the Florida Fish and Wildlife Conservation Commission concerning various violations of Eighth
Amendment and violations of state and fodcral laws. rules and regulations.
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 74 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 17of36




public concern and not merely petty employment grievances. See Footnote 1, supra. The internal

affairs complaint was in close temporal proximity to Plaintiff ULM's protected disclosures.

                                       PLAINTIFF .JAMES PADGETT

         19.      Plaintiff, JAMES PADGETT, at all material times hereto, was an Institutional

Inspector for the Office the Florida Department of Corrections, Office of the Inspector General.

Plaintiff PADGETT has been in law enforcement since 1999 and was hired by Defendant FDOC

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as Institutional Inspector on December 7, 20 12.

        20.       Plaintiff PADGETT is an Institutional Inspector for the FDOC, Inspector General's

Office and has actual knowledge, both as a private citizen and in his capacity as an Inspector for

FDOC, of matters of public concern dealing with the death of inmates within the Florida

Department of Corrections caused by inmate abuse and neglect, in violation of the Eighth

Amendment, and various other violations of State and Federal laws. Plaintiff PADGETT first made

these disclosures to Defendant BEASLEY in the fall of 2013. In particular, Plaintiff PADGETT

has knowledge of inmate abuse and neglect in connection with the death of Randall Jordan-Aparo

which he disclosed to Oelendants BEASLEY and SUMPTER. Plaintiff PADGETT made written

and oral disclosures of matters of great public concern, both as a private citizen and as an employee




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 Plaintiff PAOGE"J I was first employed b} Defendant l·DOC as a correctional onicer tn 1999 before ussuming his position us
Institutional Inspector rurther, Plaintiff PADGETT was a reserve oniccr with Suwannee County Sherirrs Office. as well as
W<ikulla County %crirrs Oflke. an<l a part-time police ollicer with Lawtey Police Department.
        Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 75 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 18 of 36




of Defendant FDOC. 8 In retaliation, Plaintiff PADGETT has been the subject of two false internal

affairs complaints signed by or authorized by Defendants BEASLEY and SUMPTER.9 Plaintiff

PADGETT, disclosed by written or oral report to his supervisors pursuant to the re-opened Aparo

Investigation and by compelled oral disclosure to an FWC OIG Inspector, misconduct concerning

matters of public concern. These matters of substantial public concern included the death of inmates

within the Florida Department of CotTections caused by inmate abuse and neglect, in violation of

the Eighth Amendment, and various other violations of State and Federal laws. Additionally,

Plaintiff PADGETT, in a compelled statement, disclosed to an FWC OlG lnspector, of

misfeasance, malfeasance and violations of criminal laws including obstruction of justice and

felony perjury committed by Defendants, FDOC, BEASLEY and SUMPTER. Finally, in a written

request for Whistle-Blower status to Defendant MIGUEL, Defendant MJGUEL has violated

Florida Statute 112.3189(4) by failing to advise Plaintiffs PADGETT, ULM, LAND and GLISSON

within 30 days after receiving their request for Whistle-Blower status that such investigation is

unnecessary.

           21.       Defendants BEASLEY and SUMPTER, after Plaintiff PADGETT's oral or written

disclosures made by him concerning evidence obtained in the death of an inmate, caused a false

and retaliatory false internal affairs complaint to be filed against Plaintiff PADGETT. Further,

other Plaintiffs, ULM, GLISSON and LAND, were also subject to the same false and retaliatory

internal affairs investigation for their investigation of the death of inmate Randall Jordan-Aparo

after such investigation had been previously terminated without findings.




8   The Aparo Investigation has apparently been re-opened from late 2010 to 2011 when F'DOC records indicate it had in fact been
closed.
9 The Internal Affairs Complaint Numbers arc r:ooc OIG No. 14-1102 and CIG INV. No. 13-11250006 have been pending for

more than 180 days and now no discipline could be administered. l knee. the only basis for refusing to issue a Final Investigative
Report on the above referenced complaints is to avoid public embarrassment to the Defendants.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 76 of 138
             Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 19 of 36




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       22.       Plaintiff PADGETT is entitled to Whistle-Blower protection as a result of his

disclosures made both as a private citizen and an emp loyee to Defendants BEASLEY, and FDOC,

and to an FWC lnspcclor General. Further, Plaintiff PADGETT filed with Defendant MIGUEL, a

request for determination of Whistle-blower status, which has been pending for well over 30 days

without response. Plaintiff PADGETT was denied Whistle-Blower status for these disclosures to

Defendant MIGUEL based upon her failure to respond to Plaintiff PADGETT's request for

Whistle-blower status. Defendant MIGUEL's failure to respond to Plaintiff PADGETT's status as

a Whistle-Blower was in retaliation to Plaintiff PADGETT's disclosures concerning the Aparo

death investigation. These disclosures were matters of grcal public concern and not merely petty

employment grievances and made to his immediate supervisor. See Footnote I, supra. The filing

of the internal affairs complaint was in close temporal proximity to the protected disclosures.

                              PLAINTIFF CHRISTINA BULLINS

       23.       Plaintiff CHRISTINA BULLINS was employed by Defendant FDOC as a

correctional Probation Supervisor at the time of her termination. BULLINS had been employed

by Defendant I< DOC for approximately 13 years and, prior to her complaining to her supervisors

about the homicide of Aparo. had not been the subject of any material discipline.

       24.       Plaintiff BULLINS had a brother. Joseph Avram. who was incarcerated at Franklin

Correctional Institute at the time of Aparo's death on September 19, 2010. Joseph Avram was a

witness to lhe homicide of Aparo and a witness to the abuse or Aparo leading up to Aparo 's death.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 77 of 138
              Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 20 of 36




       25.       Joseph Avram, on the night of the death of Aparo, made a phone call to his sister,

Kim Donovan, on a recorded line, advising her that he had been a witness to the death of an inmate

and that he had concerns about his physical safety.



                                                 18

        26.      The following day Joseph Avram called Plaintiff BULLINS, his other sister who

was a Coffectional Probation Supervisor in Miami Gardens, Florida, who advised Plaintiff

BULLINS that he, Avram, had witnessed the abuse of an inmate (Aparo) and that Avram was

concerned about physical retaliation by prison guards at Franklin Correctional Institute.

        27.      On October 21, 2010 and thereafter, Plaintiff BULLINS and her sister Kim

Donovan began to send public records requests to the Franklin Correctional Institute regarding

encounters her brother Avram had with various prison guards, including a guard who Avram had

identified as being involved with the death of Randall Jordan-Aparo.

        28.      On or about November 7, 2010 Plaintiff BULLINS and her sister, Kirn Donovan.

sent a letter to the Secretary of the Florida Department of Corrections. Walter McNeil, that her

brother Joseph Avram had witnessed the physical abuse of Aparo citing specifics in the letter which

would indicate that Avram was in fact a witness to the physical abuse of Aparo. Plaintiff BULLTNS

and her sister Kim Donovan mentioned in the letter that her brother Avram was fearful of retaliation

v.hile in confinement at Franklin Correctional Institute and expressed concern about the safety of

their brother.

        29.      On November 9. 2010 Plaintiff BULLINS and her sister Kim Donovan sent another

letter to Department Secretary Walter McNeil concerning prison guard retaliation against her

brother Joseph Avram .

        30.      On or about January 23. 2011 Plain ti ff BULLINS, by email, corresponded with the

Defendant FDOC Deputy Secretary of I lealth Services, Olugbenga Ogunsanwo. concerning her
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 78 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 21of36




brother Joseph Avram and advising Ogunsanwo that Avram was a witness to an inmate who "was

abused and gassed too much which resulted in his death." Plaintiff BULLINS advised Ogunsanwo

that other inmates in addition to her brother had expressed fear of retaliation from the application



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of chemical agents in that guards were referring to Aparo's death when threatening to gas Avram

and other inmates at Franklin Correctional Institute.

         31.       On or about February 28, 2011 Plaintiff BULLINS sent an email to Russell

I losford. Assistant Secretary of the Department of Corrections, again refening to the death of

Aparo and alleging that her brother Joseph Avram was being mistreated by one of the guards who

was involved with the Aparo homicide.

         32.       On March 3, 2011 Plaintiff BULLINS received a Jetter from the Warden of Franklin

Correctional Institute, Diane Andrews, concerning BULLINS' letter regarding the death of inmate

Aparo. W a rd e n Andrews threatened BULLINS by advising BULLINS that the allegations made

by BULLINS to Secretary McNeil and others concerning the death of Aparo were "baseless".

Warden Andrews knew that BULLINS· allegations were in fact not baseless and her threat to

BULLINS was done both in retaliation for BULLINS' disclosures and to intimidate BULLINS

from making further disclosures.

         33.       In retaliation for Plaintiff BULLINS' letters to Secretary \i1cNeil and others,

Andrews had reported BULLINS to the Department of Corrections· Inspector General due to her

                                                                                                                              10
''baseless" allegations concerning the death of Randall Aparo. This resulted in a MINS

investigation being opened against Plaintiff BULLINS in retaliation for her Aparo disclosures. This



10 "MINS" is an acrtrn} m for Management Information Notes Summary which'' ithin Defendant 1'00( is a summary of an incident
report critical of an l'DOC employee which may result in d1sc1plinc up to and including termination. locluded in a MfNS is the
actual 111cident report ti led against th..: fDOC employee which includes the date of the incidem, the liu.:tual summary, a mon:
detailed description of the incident and. in some cases. the disposition I he MINS constitutes a permanent record. MINS can be
liled !Or general harassment. contraband, battery. improper conduct and other miscellaneous vwlauons.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 79 of 138
             Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 22 of 36




complaint by Diane Andrews was in close temporal proximity to Plaintiff BULLINS' protected

disclosures concerning the death of Aparo.




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       34.      On or about March 14, 2011 after Warden Andrews had filed a complaint opening

a MINS investigation on Plaintiff BULLINS filed with the Inspector General's Office of the

Governor a complaint which was treated by the Inspector General as a Whistle-blower complaint.

Included in the Whistle-Blower allegations were allegations concerning the death of Aparo. On or

about .June 7, 2011 Defendant MIGUEL advised Plaintiff BULLINS that BULLINS was not

entitled to whistle-blower protection and that BULLINS was entitled to file a complaint with the

Florida Commission on 1luman Relations.

               BULLINS' Aparo Disclosures and 2013 Investigation into the Death
                                 of Randall Jordan-Aparo


       35.       Plaintiff BULLfNS was the first and only employee of Defendant FDOC to suggest

to her superiors that Aparo had been killed as a result of guard abuse until the summer of 2013

when Plaintiffs PADGrrr, LAND and ULM began to conduct interviews at Franklin Correctional

Institute concerning Aparo 's death. Iler first disclosure was made to senior I DOC employees in

October or November 0!'2010 and continuing thereafter until .June 7, 2011 Plaintiffs PADGETT,

LAND and ULM are not notified until the late summer of2013 that Plaintiff BULLINS had made

preYious disclosures and that Plaintiff BULLINS and her sister had had conversations with their

brother/inmate, Joseph Avram, the day before and the day arter the death of Randall Jordan-Aparo.
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 80 of 138
              Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 23 of 36




        36.       The initial Defendant FDOC Investigations of the death of Aparo were closed in

late 2011 as the result or a cover-up involving the Defendants.

        37.       Plaintiff BULLINS' prior disclosures in 2010 and 2011 were not provided to any

Defendant FDOC or FDLE investigators who conducted the initial investigation of the Aparo

homicide.




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        38.       In the late summer of 2013 Plaintiffs PADGETT, LAND, GLISSON and ULM

began to receive information from inmates while conducting an investigation related to Kassidy

Hill that Aparo had in fact been the victim of a homicide.

         39.      As the Aparo investigation was commencing, Plaintiff BULLINS on August 6, 2013

was sent a Pre-Determination Letter advising BULLINS that she would be terminated on October

24, 2013. if she did not rcspond. 11 Because BULLINS did not receive the Pre Determination Letter,

she did not respond and was terminated on October 24, 2013. Prior to

August 6, 2013. Plaintiff BULLINS had been on leave pursuant to the Family Medical Leave Act

(FMLA). The termination of the Plaintiff BULLINS on October 24. 2013 was pretextual. Ifer

immediate prior performance evaluation from Defendant FDOC. dated March 21, 2013. indicated

that Plaintiff BULLINS performed her duties at an exceptional or above exceptional manner.

         40.      On November 6. 2013. Plaintiff BULLINS' name, as well as her brother, Joseph

Avram's name. was prominently mentioned in a Defendant FDOC investigative report related to

the Aparo homicide.




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 Despite numerous n:qui.:sts by BULLINS prior attorni.:ys. a copy of the pre-determinalion lclli.:r has not been provided LO
HULLING or her prior counsi.:I. nor has a "'green card"" indicating that she had received lhi.: Prc-Di.:termination letter.
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 81 of 138
              Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 24 of 36




        41.      As a result of the re-opening of the Aparo death investigation and Plaintiff

BULLINS' prior disclosures in 2010 and 2011, BULLINS was notified that she was to be

terminated as a Defendant FDOC employee. At the time of her termination Plaintiff BULLINS was

advised by her supen isor, Luis Pizano. that she was terminated because Defendant FDOC




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Tallahassee was "out to get her" in part because of her prior protected disclosures regarding the

Aparo homicide. 12

        42.      Plaintiff BULLINS was in fact terminated on October 24, 2013.

                 BULLINS Statements Published on FloridaPublicEmployees.com
                         Between January 31, 2012 and May 28, 2013

        43.       f n addition to Plaintiff, BULLINS disclosures concerning the death of Randall

Jordan Aparo, Plaintiff BULLINS was a volunteer political coordinator and lobbyist for the

Teamsters Local Union No. 2011 (The Collective Bargaining Unit for all professional and

nonprofessional la"• enforcement officers certified pursuant to Florida Statute 943).                      Further.




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   Normally, the time period between Plaintiff BULLINS' protected disclosures regarding the homicide of Aparo.
1.c., June 7, 20 I I to August 6. 2013. may lack the necessary temporal proximity between the protected disclosures
and her termination if her protected blog activity for rloridaPublicEmployees.com is not included in the overall
analysis of temporal proximity and causation. The fact that Defendant FDOC concealed from investigator during the
initial Aparo 2011 investigation should be taken into account m determining temporal pro.\im1ty See Kamensk1 and
Andi:rson. supra However. in this instance. Plaintiff BUl LINS alleges that the evidence "ill shO\\ that her prior
protected Aparo disclosures became problematic to Defendant I DOC during the summer of 2013 when Plaintiffs.
PADGETT, LAND. CL/\RK and ULM began to reinvestigate the Aparo homicide. Additionally, temporal proximity
between BULLINS protected disclosures on FloridaPublicEmployees.com coupled with her Aparo disclosures
provide the necessary temporal proximity between her protected disclosures and her termination.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 82 of 138
          Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 25 of 36




BULLINS wrote as a blogger for FloridaPublicEmployees.com articles critical of Defendant

FDOC on the following dates:

                 a.             January 31, 2012, "In the Words of a State Corrections Officer", attached

hereto as Exhibit C;

                      b.           January 16, 2013, "Smart Justice Alliance (SJA) Gives Presentation to

the Senate Criminal Justice Committee'", attached hereto as Exhibit D;

                c.              April 10, 2013, "Letter to Sen. Bradley: Vote Yes to Support Equal Raises

for FDOC" , attached hereto as Exhibit E;




                                                       23
                           d.        May 28, 2013. "Call to Actions: Governor Scott, I Ask You to "Veto

the Turkeys"' in State Budget"". attached hereto as Exhibit F.

       44.     On August 9. 2013, Defendant             rDOC sent a   predetermination letter to Plaintiff

BULLINS to an incorrect address. Plaintiff BULLINS did not receive the predetermination letter

and hence, did not respond to such letter and was terminated on October 24. 2013.

       45.     Plaintiff BULLNS Aparo disclosures as well as her politically protected blog posts

resulted in her retaliatory pretextual termination from Defendant FOOC and when looked at
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 83 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 26 of 36




holistically within the confines of the entire record provide temporal proximity and evidence of

retaliatory action.

                              The Plaintiffs' Disclosures Resulting in Retaliation
                                   were Matters of Great Public Concern
                                        {Aparo Death Inv estigation)

         46.        Beginning in 2013, Plaintiffs PADGETT, LAND, ULM and GLISSON began to

conduct an investigation of a series of complaints concerning garden variety prison guard

misconduct at Frankl in Correctional Institute (hereinafter the Kassidy II ill Investigation 13). During

the course of the Kassidy l Iill investigation, Plaintiffs PADGETT, LAND, ULM and GLISSON

began to gather information concerning the death of an inmate in 20 10. 1.i That inmate·s name was

Randall Jordan-Aparo. 15 The Aparo death investigation (2011 Aparo Death Investigation) was

conducted by the Florida Department of Corrections (FDOC) and the Florida

Department of Law Enforcement (FDLE) pursuant to a Memorandurn of Understanding. The

Plaintiffs, PADGETI, LAND, ULM and GLISSON began to obtain evidence that inmate Aparo




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died as a result or force or discipline made either maliciously or sadistically for the very purpose

of causing harm by the Department of CotTections' employees in retaliation for Aparo threatening

to sue Defendant FDOC for DOC's failure to take Aparo to a hospital for treatment. This evidence



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    Plaintiffs PADGElT. LJ\:-.!D, l I \II and GI JSSON were primarily at the Franklin Correc11onal Institute to investigate allegations
that a prison guard had sexual relations with an inmate. as well as other routine investigation~ im:luding allegations of prisoner
abuse not involving de<llh or an inmate. The Kassidy I fill investigation would no1 be considered a matter or great public concern.
"il!e. Duryea v G uamien. 111/i-a
11
    The Aparo criminal and admin investigations were initially closed in 2011 and reopened in 2013.
''Randall Jordan-Aparo was remitted lo the Florida Department of'Corrections h} a Circuit Court .llldgc from I lillsborough County
to serve a sentence of 18 months. At the time of his death Mr. Aparo was 28 years old.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 84 of 138
        Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 27 of 36




was obtained from the Kassidy Hill investigation, inmates and video/audio footage shot on the date

of Aparo's death. Despite the fact that Plaintiff BULLINS had made numerous disclosures in 20 10

and 201 l concerning the death of Randall Jordan-Aparo.

       4 7.    Based upon the investigation conducted by Plaintiffs PADGETT, LAND, ULM and

GLISSON, the Plaintiffs began to believe and to report to Defendants BEASLEY and SUMPTER

that Randall Jordan-Aparo was the victim of force or discipline made either maliciously or

sadistically for the purpose of causing harm. During the course of the Randall Jordan-Aparo death

investigation, Plaintiffs PADGETT, LAND, ULM and GLISSON identified various six to eight

FDOC employees who they designated as potentia l criminal targets of crimes committed to the

person of Randall Jordan-Aparo. These employees included senior level officers and medical

providers who used or authorized the punitive use of chemical agents against Randall Jordan-

Aparo, which ultimately led to or, to a great extent contributed to his death in confinement. Aparo's

death occurTed approximately five hours after the chemical agents were applied.

        48.    The Plaintiffs PADGETT, LAND, ULM and GLISSON reviewed the original 2011

Aparo Death Investigation and determined in 2013, during the Kassidy Hill investigation that, in

their opinion, the Aparo Death Investigation completed in 2011, was either ( 1) intentionally

misleading or (2) the Department of Corrections' investigators at the scene in 2010 had been

grossly negligent for failing to properly disclose of the obvious facts to an FDLE agent who was

on call lhe date of Aparo's death. For example, Plaintiff BULLINS and her sister, Kim Donovan's

disclosures were not provided to the original Aparo investigative team.



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        49.    The Department of Corrections' employees determined by Plaintiffs, PADGETT,

LAND, ULM and GLISSON to be potential criminal targets of the death of inmate Aparo included
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 85 of 138
              Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 28 of 36




Senior Inspector Eddie White and Senior Inspector Debbie Carter 16 , as well as FDOC prison

guards, Austin, Hampton, Nunez, and Randall Johnson. Austin, Hampton, and Johnson were placed

on paid administrative leave as a result of Plaintiffs PADGETT, LAND, ULM and GLISSON' s

investigation in 2013.

        50.        Plaintiffs PADGETT, LAND. ULM and GLISSON, in reviewing the September,

 2011 Aparo Death Investigation, believed in 2013 and reported that the 2011 Aparo Death

 Investigation was rai se and misleading, at least in the following ways:

                   a.        Defendant FDOC had railed to conduct interviews of staff and inmates in

violation of policy and training;

                   b.        The September 2011 Aparo Death Investigation Report of Force Used had

been falsified at the direction of Lieutenant Rollin Austin;

                   c.        That in the September 20 11 Aparo Death Investigation that Lieutenant

Austin had caused Sergeant James Hamm to sign a Use of Force Report both knew to be false;

                   d.        That the September 20 I I Aparo Death Investigation, that I ieutenant Austin

misrepresented to Duty Warden Timothy Copeland certain facts concerning the deportment of

Aparo, such m isrcprcscntations causing the Duty Warden to approve the use of chemical agents on

inmate Aparo~

                   e.        That the September 2011 Aparo Death Investigation failed to give

appropriate credence to the fact that Randall Jordan-Aparo suffered from a rare lung disease, had




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   Despite heing named by Plain ti fls. PADGETI. LAND. l I Mand GI I'iSON. as a person of interest in the /\paro death. Carter
 was cho:;t:n 10 invi::stigatc an inlcrnHI affairs complaints made b) the Dcpartment of Corrections' Inspector General's Office in
 connection with the Inspector Gcncral 's investigation ol Kassid} I lil l Hgainst thc Plaintiffs. PAOGF'l1. I.AND. ULM and
 (fl ISSON.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 86 of 138
          Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 29 of 36




                                                 26
been confined for the previous two days prior to the date of his death to the Infirmary, and such

investigation failed to mention that the use of chemical agent's against Aparo, while in that

condition and that Aparo was not acting in a manner necessitating that level of use of force, and

that the use of chemical agents three times would be cruel and unusual punishment in violation of

The Eighth Amendment as to Aparo;

               f.      That the September 2011 Aparo Death Investigation failed to note that the

audio and video tapes of the day that Aparo died indicated that Aparo was in extreme physical

danger, his actions did not meet the Florida Depa1tment of Corrections' Use of Force Policies and

that chemical agents policies of the Department of Corrections in effect at that time were not

adhered to;

               g.      That the September 2011 Aparo Death Investigation failed to note that

pictures of the confinement unit where Aparo was chemically gassed and died five hours later, did

not comport to the Use of Force Report or the Incident Reports originally prepared in 2011 by

senior DOC employees;

               h.      That the September 20 I l Aparo Death Investigation failed to detem1ine that

DC Procedure Title 33-602.10 (5)(B)(l) regarding the Administration of Chemical Agents on an

inmate causing a disturbance in his or her cell, were obviously violated;

               1.      The Department of Corrections' Officers on the scene of Aparo's death

failed to decontaminate his cell, requiring him to return to a cell contaminated with chemical agents.

Photographic evidence existed in the 2011 investigative file showed that Aparo was gassed on his

bunk while attempting to breathe, and further that his isolation cell had not been decontaminated

after each application of chemical agents and was only decontaminated after his death and after the

last administration of chemical agents;
       Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 87 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 30 of 36




                                                             27

                    J.       That Defendant, FDOC, Procedure fitle 33-602.10 (21 )(3)(C)(B)

regarding the use or chemical agents indicates that such chemical agents shall only be used after

all other reasonable efforts to control a disruptive inmate have been exhausted. This did not occur

with regards lo the Aparo gassing;

                     k.       Lieutenant Austin was aware of Aparo's medical condition and failed

to use due care by exposing Aparo to chemical agents and Austin failed in his responsibility to

allow the use offorce in these circumstances. Lieutenant Austin consulted with an L.P.N. regarding

the use of chemical agents. This particular L.P.N. was either so incompetent or so inexperienced

that she could not interpret a machine read EKG later performed on Aparo. This LPN was not

qualified to give Austin approval to use chemical agents. Lastly, it was this L.P.N. that, on the day

before his death, Aparo had advised he would sue the Department of Corrections for failing to take

him to the hospital. In essence, Aparo was too sick to be a behavioral problem on the day before

and the day of his death as corroborated by the videotape, available in 2011 but disregarded 17 ;

                     I.       That the September 2011 Aparo Death Investigation failed to determine that

FDOC Procedure Title 33-602.10 (21 )(3)(C)(O)(l) had been violated as a result of the failure to

continuously monitor Aparo for any signs of respiratory distress after the repeated use of chemical

agents:




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     ror example. Aparo was required to be taken to his cell prior to the last administration of chemical agents in a wheel
chair
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 88 of 138
          Case 4:14-cv 00347-WS-CAS Document 11 Filed 08/27 /14 Page 31of36




                m.             In fact, Aparo immediately after the use of chemical agents was

determined to have no blood pressure and whcczi ng in his lower left lobe of his lung. FLLrther,

Aparo was not immediately returned to the Infirmary despite his fai ling blood pressure and

deteriorating vital signs. Ultimately. Aparo was left to suffocate in his contaminated cell without




                                                 28
medical intervention for approximately five hours and his death pose indicated his mouth and nose

were lodged in the small gap in the door of his isolation unit, attempting to breathe;

               n.      That the September 20 11 Aparo Death Investigation faile d that FDOC

Procedure Ti lle 33-602.10(21 )(3)(C)(0 )(3)(b)(c) had been violated in that the Department of

Corrections' employees, including medical staff, fa iled to place Aparo under constant observation

and if symptoms due to his respiratory distress caused or was exacerbated by the illegal and cruel

use of chemical agents. Aparo's symptoms lasted far more than 60 minutes (five hours) and were

not repo1ted within Aparo's medical records the day of his death nor brought lo the immediate

attention of the staff and thus emergent medical assistance was not provided;

               o.      Aparo was not monitored or assessed for excessive or persistent coughing

depicted on the audio recording done at the pnson, nor was Aparo assessed concerning his past

medical history of a severe lung related condition. Further, the audio tape made on the day Aparo

died. indicates that Aparo was requesting medical assistance, could barely walk from the

decontamination shower to his isolation unit and. despite the above, did not receive immediate

emergent attention from medical staff which more likel) than not, would ha\e saved his life:
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 89 of 138
          Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 32 of 36




               p.      Plaintiff BULLINS' Aparo disclosures to Warden Diane Andrews, Former

Secretary McNeil, and to Defendant MIGUEL were not provided to the initial Aparo investigative

team.

               q.      That FDOC Procedure Title 33.208.002 Rules of Conduct requires that all

Department of Corrections' employees familiarize themselves with all rules. policies and procures

and, in particular, no employee shall willfully negligently treat an inmate in a cruel or inhuman

manner;

               r.      The treatment of Aparo on the day of his death was occasioned by Aparo,

on the day prior to his death. by Aparo telling a health care provider that he was going to sue the

                                                 29
Department of Corrections for failing to transfer him to a hospital. The use of force had no relation

to any misconduct by Aparo either on the day before his death or the day of his death, but Aparo

was the victim of force or discipline made either maliciously or sadistically for the purpose of

causing harm and for retaliation for threatening to bring a lawsuit.

               s.      The FDOC Use of Force report relating to the use of chemical agents on

Randall Jordan Aparo intentionally omitted that Randall Jordan Aparo had died.

    Direct Disclosure of Aparo Wrongdoing to Jeff BEASLEY (Inspector General for the
        Department of Corrections) and Ken SUMPTER (Deputy Inspector General)

        51.    Plaintiffs. LAND. ULM and GI ISSON. met in October of2013 after Plaintiffs

LAND. ULM and GLISSON had reported their findings regarding the death of Aparo to the Florida

Department of Law Enforcement and federal authorities.

        52.    At the September 2013 meeting with Jeff BEASLEY and Ken SUMPTER,

Plaintiffs were the subject of a false internal affairs complaint regarding the Kassid) Hill

investigation in retaliation for Plaintiffs· PADGL: IT, LAND. ULM and GI ISSON disclosures

concerning the death of inmate Aparo. These internal affairs complaints were false and without

merit and directly in retaliation for the Aparo disclosures. The false and unwarranted Kassidy I till
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 90 of 138
               Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 33 of 36




internal affairs complaints against Plaintiffs PADGETT, LAND, ULM and GLISSON are still

pending. 18

        53.       On February 18, 2014 Plaintiffs CLARK, LAND, ULM, and GLISSON asked for a

meeting with the Secretary of the Department Corrections, Mike Crews, where the Plaintiffs again

disclosed their Aparo death findings and the fact that the Plaintiffs had determined that




                                                          30
employees of the Department of Corrections' Inspector General's Office had been identified by the

Plaintiffs as potential targets of criminal activity associated with the September 2010 investigation

of the death of Aparo and a cover-up.

         54.       Secretary Crews recommended that the Plaintiffs report their findings to Defendants

OIG, MIGUEL and CASE, Inspector Generals for the State of Florida as in Crews' opinion their

complaints appeared to be a Whistle-Blower issue.

         55.       Plaintiffs, LAND, ULM, CLARK and GLISSON in late February or early March

2014 in a written request lo Defendant MIGUFL, asked for Whistle-Blower status and were

interviewed b} Defendants MIGUEL and CASr. A copy of Plaintiff LAND's interview with

Defendants MIGUEL and CASE is attached hereto as Exhibit B. Plaintiffs, ULM and GUSSON's

interview was not tape recorded but essentially disclosed the same Cacts as Plaintiff, LAND's tape

recorded statement.




• ~For example, Defendant Bl· ASLEY in connection with the filing of the internal affairs complaint against Plaintiffs,
PADGETT, LAND, UI.M and GLISSON intentionally omitted certain documents from the complaint which would
have shown that the internal affairs complaint regarding Kassidy Hill was false and in violation of Florida Statute
838.022 (official misconduct)
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 91 of 138
             Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 34 of 36




       56.      After a 14 day ''investigation" by Defendants M IGUEL and CASE, Plaintiffs

LAND, ULM and GLJSSON, were denied Whistle-Blower status, despite Plaintiff BULLTNS

previous request for Whistle-Blower status regarding the same issue in 2011. The denial of

Whistle-Blower status was in retaliation for the prior disclosures made by Plaintiffs LAND, ULM

and GLISSON to FDLE and federal authorities. The Plaintiffs LAND, ULM and GLISSON are

clearly entitled to Whistle-Blower status but was wrongfully denied such status. Plaintiffs ULM

and GLISSON also provided un-taped interviews to Defendants OIG, MIGUEL and CASE and

were also denied Whistle-Blower status. Plaintiffs LAND, ULM and GLISSON were told to file

complaints with the Florida Commission on Human Relations (FCI IR) concerning their

disclosures.




                                                31




                    Tile Miami Herald Articles Concerning Inmate Deaths of
                             Department of Corrections' Prisoners
                           (A matter of significant public importance)

        57.      Serendipitously and without prior knowledge of the Plaintiffs, on May 18, 2014,

The Miami /Jerald, (attached hereto as Exhibit A) began to run a series of articles regarding

unexplained deaths   or inmates confined within the Department of Corrections. Included in these
series of articles were stories concerning the unexplained death of Randall Jordan-Aparo, as well

as Shawn Gooden.

        58.      Shortly after the .\1iami Herald articles, which mentioned the death of inmate

Gooden. initially investigated by Plaintiffs LAND and CLARK I AND and CLARK received false

internal affairs complaints initiated by Defendants BEASLEY, SUMP r 1-R and MIGUEL alleging

that Plaintiffs LAND and CLARK had violated both l-IIPAA regulations and Department            or
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 92 of 138
             Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 35 of 36




Corrections' policies for providing Shawn Gooden' s medical records to FDLE. Both HIP AA, as

enacted by the State of Florida and the Department of Corrections' policy. make it absolutely clear

that Plaintiffs LAND and CLARK did not violate such policies and procedures.

       59.      The Gooden complaints arc in retaliation for the Plaintiffs' pnor disclosures

concerning the death of inmate Randall Jordan-Aparo and in response to the series of The Miami

Herald articles. These inmate deaths, as well as other inmate deaths described in The Miami flerald

a11icles, clearly make the disclosures by the Plaintiffs matters of public concern. When a public

employee petitions as a citizen on a matter of public concern, the employee's First Amendment

interest must be balanced against the countervailing interest of the government in the effective and

efficient management of its internal affairs. If that balance favors the pub lic employee, the

employee's First Amendment claim will be sustained. See, Dw)'ea v. Guarnieri,



                                                  32

and Carce/Ii v. Ceballos. supra. In this instance, the Plaintiffs disclosures concerning the death of

inmates implicate both The First Amendment, the Petition Clause and The Eighth Amendment.

       60.       Further, the Plaintiffs need not exhaust any state judicial remedies in order to bring

this claim in that the federal remedy is supplementary to the state remedy and the latter need not

be sought and refused before the federal remedy is invoked. See, Monroe v. Pape, 365 U.S. 167

(1961) and Patsy v. Board <~/'Regents, 457 U.S. 496 (1982) and District Attorney's Office v.

Osborne, 129 S. Ct. 2308, 2321 (2009). Lastly, this litigation does not invoke the Prisoner

Litigation Reform Act. which would require an exhaustion or remedies.

                                       COUNT I
                      PROSPECTIVE IN.JUNCTIVE RELIEF AGAINST
                      DEFENDANT DEPARTMENT OF CORRECTIONS
                            (Ex-Parte Young, 2009 U.S. 123 (1988))

        61.      The Plaintiffs reallege and reincorporate paragraphs 1 through 28 herein.
     Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 93 of 138
              Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 36 of 36




       62.       Defendant, The Department of Corrections (DOC), as an agency or sub-division of

the State or Florida, enjoy sovereign immunity and the Plaintiffs seek only prospective injunctive

relief not requiring the payment of funds from the State of Florida's Treasury.

       63.       The Plaintiffs have alleged that as a result of the exercise of their rights under The

First Amendment, they have been subject to ongoing retaliation in the form of false and

unwarranted internal affairs complaints which, in all likelihood, will continue unless injunctive

relief is granted by this Court.

        64.       Due to the temporal proximity of internal affairs complaints asserted against the

Plaintiffs immediately after the disclosure of the falsity of the 2011 Aparo Death Investigation

during the Kassidy Hill investigation and the publication of The Miami I Jerald articles, the

Plaintiffs seek and are entitled to injunctive relief against the sovereign as to future retaliation.




                                                   33

        NOW THEREFORE the Plaintiffs request that this Court enter a permanent injunction

enjoining the Defendant Department or Corrections from retaliating against them in connection

with any good faith assertions or disclosures of matters of substantial pub lic interest and concern

applying the balancing test set forth in Duryea ,. Guarnieri. and Garcelfi '' Ceballos, supra.

Further. the Plaintiffs request this Court enter an order determining that the Plaintiffs are entitled

to prospectively to all Whistle-Blower protection. Plaintiffs also request that to the extent allowable

under E'(-/>arte Young, Plaintiffs be awarded attorneys· fees and costs associated with Count I of

this Complaint pursuant to 42 U.S.C. 1988.

                                        COUNT II
                    (Defendants BEASLEY, SUMPTER, MIGUEL and CASE)

        65        Plaintiffs rcallegc and reincorporate paragraphs 1 through 28 herein.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 94 of 138
                Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27/14 Page 37 of 36




       66.         This is an action pursuant to 42 U.S.C. 1983 by each Plaintiff against Defendants

BEASLEY, SUMPTER, MIGUEL and CASE for the violation of the Plaintiff's First Amendment

rights and rights under the Petition Clause

          67.      Defendants. BEASLEY, SUMPTER. MIGUEL and CASC ha\'e violated the

Plaintiffs' constitutional rights by retaliating against the Plaintiffs concerning their disclosure of

matters of substantial public concern which are protected by the First Amendment and the Petition

Clause.

          68.      The Defendants have caused retaliatory acts (false internal affairs complaints) to be

made against the Plaintiffs as the result of the exercise of their Constitutional Rights. The Plaintiffs

have suffered injury from such retaliatory acts including. but not limited to:

                   a.    Inability to be promoted while under internal affairs investigation;

                    b.   Inability to be transfe1Tcd while under internal affairs investigation;

                   c.    Lav..· Enforcement standards frozen upon retirement;


                                                      34
                   d.    Inability to file a Whistle-Blower claim while employee discipline or

                         disciplinary actions arc pending

                    e.   Inability to obtain a name-clearing hearing; and

                    f.   The placement of defamatol) material within their personnel files.

          69.       Plaintiffs' request that they receive all compensatory damages allowable pursuant

to 42 U.S.C. 1983, costs, attorneys' lees pursuant to 42 U.S.C. 1988 and any other relief to which

they are awarded.

                                  DEMAND FOR .JURY TRIAL

     Plaintiffs demand a jury trial for all counts alleged above.

     DATED this 27 111 day of August, 2014.
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 95 of 138
            Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 38 of 36



                                               Respectfully submitted,

                                               The Law Offices of STEVEN
                                               R. ANDREWS, P.A.
                                               822 North Monroe Street
                                               Tallahassee, Florida 32303
                                               (850) 681-6416 FAX: 681-6984 Allorneys
                                               for P/ainrijfs
                                               /Isl/ Steven R. A ndrews
                                               STEVEN R. ANDREWS (FBN 0263680)
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                                               FINNERTY           (FBN        0094647)
                                               bfinnerty@andrewslawofficc.com
                                               service@andrewslawoffice.com




                                              35

                                    CERTIFICATE OF SERVICE

I I IEREBY CERTIFY that a copy of the foregoing First Amended Complaint has been escrved

thi5 27111 day   or August_ 2014, to:
        Albert J. Bowden, ITI
        Senior Assistant Attorney General
        Office of the Attorney General
        PL OJ, The Capitol
        Tallahassee, FL 32399-1050
        (850) 414-3716
        (850) 488-4872 Fax
        Al.Bo\\dcn a.n1\ floridalegal.com
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 96 of 138
    Case 4:14-cv-00347-WS-CAS Document 11 Filed 08/27 /14 Page 39 of 36




                                        Isl Steven R. Andrews
                           STEVEN R. ANDREWS
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 97 of 138




   EXHIBIT E
                           Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 98 of 138

                                                                                                                          EXHIBIT

                                                                                                                    i        E



                                               DENNIS, JACKSON, MARTIN &
                                                     FONTELA, P.A.
                                                            PROFESSION AL ASSOCIATION
                                                        ATIORNEYS AND COUNSELORS AT LAW
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Craig A. Dennis *                                        1591 SUMMIT LAKE DRTVE, SUITE 200                               Firm Administrator
Michael R. Fidrych •                                        TALLAHASSEE, FLORIDA 32317
Rogelio J. Fontela                                                (850) 422-3345                                  Robin B. Campbell
William T. Jackson                                              FAX (850) 422-1325                             Patricia Starr Eubanks
William Peter Martin :j:                                                                                      Nikki W. Garrett, FRP
Maria A. Santoro *                                                                                  Jennifer C. Kjellerup, ACP, FRP
Tiffany Rohan-Williams                                                                                              Jessica N. Mauer
                                                                                                                Hester H. Pennington
+Board Cenifted as a Civil Trial Lawyer
               by the Bar                                                                                            Lisa Swearengin
 *Certified as a Circuit Mediator by the                                                                           Angela R. Triplett
           Supreme Court of Florida                                                                                        Legal Assistants
• /\L-.o Admitted in (ioorgia
                                                               September 25, 2014


                 Steven Andrews
                 Law Offices of Steven R. Andrews
                 822 North Monroe Street
                 Tallahassee, Florida 32303

                  Re            Estate of Randall Jordan-Aparo
                                Response to Presuit Request for Medical Records

                  Dear Steve,

                          Enclosed please find the Department of Corrections' medical records for decedent
                  Jordan-Aparo in response to your Notice of Claim letter dated September 2, 2014. Again, the
                  Department appreciates your gracious agreement to extend the time by which these records were
                  to be produced.

                                Please feel free to contact me if you have any que           ding the medical records.




                  Enels.
                  cc:           Alexandria Williams
                                Ray Cochran




                                                                                                  JORDAN-APARO, RANDALL
                                                                                                         DOC MED REC - 01
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 99 of 138




    EXHIBIT F
                                                                                                                                                     EXHIBIT
               Case 4:16-cv-00584-RH-CAS   Document 144 Filed 03/28/18 Page 100 of 138
                                    FLORIDA DEPARTMENT OF CORRECTJONS
                                                                                                                                                         F
                                                         EMERGENCY ROOM RECORD
  Ch eck one:               I nmate/Post-Use-of-Force Exam
                      0     Emp loyee:         D Post-Use-of-Force Exam              OR     D I njury         OR     0   P hysical Alter cation
                      0     Visitor/Injury
All irunates must receive a complete assessment following a use of force. This includes a visual inspection of the entire body to identify any sign of iojw-y.
This exam shall be perfonned in the medical unit except under wrnsual circumstance. lnjtuics shall be documented on the DC4-708, Diagram oflnjwy. If
a ~Jhysician/CA is not presen at t e f ne of e ex     oh.vsician/CA must revie_w this fonn and si!il j on J~t working day.
Tune of occun·ence:                                     DD                    Tnne of exam:_ __,_L_  :"J--.._l_2_
                                                                                                               c._______________
Description of occurrence:
                                              o.e

Inmate showered without soap (if post-use of chemical agent)?            Yes         D   Refused          D    N/A
Vital Signs:      Temperature     q   11         Pulse~--                    Rcspiration_ai)___                 Blood Pressure_ _ _ ___,__ _ _ __

Arrived via:      ~mbulatory          D      Stretcher      0   Wheelchair       0   Other:_ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ __

Condition on arrival (check all that apply): G--1\lert      [3---Cfriented x 4 (person, place, time, situation) ~ponding to questions verbally
D   Other (requires description in ~s_essment summary)              •   /,
~CIO pain?        If checked, where?_~f)
                                      b'"'o       r...,J2L
                                          ...........    """"'---I~=->C=~"'-----------------------------




  W-.     c...v  01'\.. -
Physician notified?         0   No

Treatment provided?         0   No   ifycs




Disposition:                D   Population                                                 Hospital       D    Rescue


Discharge lnstructions and Education~
  N o+1.C,,,..\        vy. o.clt c


Reviewing Physician's Signature and Stamp:                                   I
Name< ~~~
DC#     ~  ::::::
                                                                               Inmate Distribution:           White-Health Record
                                                                                                              Canary-Inspector General
Date of Birth                                                                                                 Pink-Local Requirements
Institution             h:~                              C?C'                  Employee Distribution:         White-Personnel File
                                                                                                              Canary-Employee Copy
                                                                                                              Pink-DESTROY


                                                                               This form is not to be amended, revised, or altered without approval of
DC4-70IC (Revised 10/07)                                                       !he Office of Ilea Ith Services-Administration

                                                                                                                                                         00001
                                                    Incorporated by Reference in Rule 33-602.210, F.A.C.
                                                                                                                 JORDAN-APARO, RANDALL
                                                                                                                        DOC MED REC - 02
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 101 of 138




   EXHIBIT G
                            .l'L\...    J.J-1.V.A..!IJ..r1.l.'-.A.1T.LLJ1'.a.   '-'..IL_....._...,, __ ...__ _
        Case 4:16-cv-00584-RH-CAS
                             OFFICEDocument 144 SERVICES
                                    OF HEALTH   Filed 03/28/18 Page 102 of 138
                                                                                                                                             EXHIBIT
                                             DIAGRAM OF INJURY
                                                                                                                                        I         G




    Date of occurrence       q         l
                                 J Jg 10                         Time of occurrence-~}5~
                                                                                       1J=                        ____
    D No injury identified


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-YY1ff.Le~lY~·
      T      ~LIN
Staff Signature                                                       C1


InmateNam~
DC#T3=:]_
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Date of Birth   ___;ii;~=:::::x::i;~===--=i""'-==;:;_~~


Institution      f\,-~(A..
                                                                           This form is not to be amended, revised. or altered without approval
                                                                         of the Deputy Assistant Secretary of Health Services Administration
DC4-708 (Revised 1/05)
                                                                                                                 JORDAN-APARO, RANDALL
                                                                                                                                              00002
                                                                                                                        DOC MED REC - 03
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 103 of 138




   EXHIBIT H
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 104 of 138




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

AMANDA CIMILLO, as
Personal Representative of the
Estate of RANDALL JORDAN-
APARO, Deceased and MINOR
CHILD APARO, the Natural
Child of Randall Jordan-Aparo
By and Through Her Mother and
Natural Guardian Amanda Cimillo,

        Plaintiffs,

vs.                                           CASE NO.: 4:16-cv-00584-RH-CAS

DIANE ANDREWS, ET AL,

     Defendants.
___________________________________________________/

            DEFENDANT DEPARTMENT OF CORRECTIONS’
        RESPONSE TO PLAINTIFF’S FIRST REQUEST TO PRODUCE

        Defendant Department of Corrections (“DOC”) responds to Plaintiff’s first

request to produce and will produce those documents which exist and are in its

possession as follows:

1.    Any and all Documents and Communications listed in your initial Rule 26
disclosure section 26(a)(1)(A)(ii).

        a.     Any and all documents produced by the Plaintiff.

               Plaintiff has not produced any documents.

     b.    All employee handbooks, policies, procedure, and other similar
documents as were in effect with the Defendant during the relevant time period.
                                          1
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 105 of 138




           DOC objects to this request on the grounds that it is overbroad,
burdensome, and vague.

        c.   Decedent’s inmate administrative and medical files of DOC.

             See Folders H and __ being transmitted separately (applies to all
Folders).

        d.   Bureau of State Investigations Case Summary, Case Number 10-1
8057.

             See Folder A.

     e.  The Florida Department of Law Enforcement Investigative Report;
Case Number: TL -37-0003.

             See Folder A

     f.     DOC Reports of Force Used, Authorizations for Use of Force,
Worksheets, Incident Reports, Witness Statements and Chemical Agent
Accountability Log.

             See Folders A and I.

        g.   Relatives/References sheets regarding decedent.

             See Folder K.

        h.   DOC Death Investigation Case 13-13339.

             See Folder A.

        i.   DOC Death Investigation Case 13-9886.

             See Folder A.

        j.   All documents obtained through third party subpoenas.

             None.
                                         2
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 106 of 138




2.    Any and all Documents and Communications, which reference DOC
Incident Report Numbers as follows:

         a.   113-210-1387;
         b.   113-210-1387A;
         c.   113-210-1387B;
         d.   113-210-1387C;
         e.   113-210-1387D;
         f.   113-210-1387E and;
         g.   113-210-1387F.

      See Folder I.

3.   Any and all Documents and Communication in the custody and control of
DOC that would comprise the complete unredacted medical records maintained
DOC for Randal Jordan Aparo within the custody and control of DOC certified
complete and accurate by the custodian of records.

      See Folder H.

4.   Any and all Documents and Communications in the custody and control of
DOC that would reference or discuss the Medical Records or Medical Condition of
Randal Jordan Aparo, while a DOC inmate.

      See Folder H.

5.    Any and all Documents and Communications in the custody and control of
DOC that would set forth the complete names of every inmate housed in A-Dorm
Housing at Franklin Correctional Institute on September 17, 2010 to September 20,
2010.

      See Folder C.

6.    Any and all Documents and Communications in the custody and control of
DOC which reference or comprise the Internal Movement Log for all inmates who
were housed in B-Dorm housing at Franklin Correctional Institute from September
10, 2010 to September 30, 2010 including their cell numbers.

      See Folder C.
                                        3
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 107 of 138




7.    Any and all Documents and Communication in the custody and control of
DOC which reference or comprise the any and all Witness Statement Forms signed
by inmates, employees of DOC, and outside law enforcement concerning the
incident that happened on September 19, 2010 of Randal Jordan Aparo.

      See Folders A and L.

8.    Any and all Documents and Communications in the custody and control of
DOC which reference any interviews of any inmates, DOC employees, FDLE
agents taken during the course of any investigation involving the death of Randal
Jordan Aparo including the names of any such persons interviewed and the names
any such persons who refused to be interviewed.

      See Folders A and L.

9.    Any and all Documents and Communications in the custody and control of
DOC which would indicate the name of the Chief of Security at Franklin
Correctional Institute on September 19, 2010.

      See Folder I.

10. Any and all Documents and Communications in the custody and control of
DOC including all draft Documents, and handwritten notes, recorded statements
that would comprise all:

      a.    Reports of Persons Using Force against Randal Jordan Aparo while he
was an inmate at DOC;

      b.    Incident Reports which reference or discuss Randal Jordan-Aparo
while he was an inmate at DOC;

     c.     Report of Force Used Worksheet, from any employee DOC in
connection with any Use of Force on Randal Jordan Aparo while confined in DOC;

      d.     Risk Assessment for the Use of Chemical Restraint Agents and
Electronic Immobilization Devices which reference or discuss Randal Jordan
Aparo while he was an inmate at DOC;



                                        4
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 108 of 138




      e.   DOC Diagram of Injury Form which mention or discuss Randal
Jordan Aparo while he was an inmate at DOC;

      f.    DOC Emergency Room Records of Randal Jordan Aparo while he
was an inmate at DOC;

      g.    DOC Authorization for Use of Force for Randal Jordan Aparo while
he was an inmate at DOC;

      Regarding 10.a-g: see Folders A, F, H and I.

      h.     Documents and Communications in the custody and control of DOC
authored by the following which mention or discuss Randal Jordan Aparo;

               i.   Diane Andrews;
              ii.   Rollin Austin;
             iii.   C. Gillikin;
             iv.    Any institutional inspector;
              v.    Any employee of the Inspector General’s Office including Ilsa
                    Hayes;
              vi.   James Hamm;
             vii.   Deputy Warden T. Copeland;
            viii.   Patrick Burch;
              ix.   J. Martina;
               x.   C. Spangler;
              xi.   Markeith Daniels;
             xii.   Sgt. FNU Jackson (Franklin CI);
            xiii.   Custodian of Records for all Chemical Agents at Franklin CI;

      DOC objects to Request 10.h(i-xii) on the grounds that it is overbroad and
burdensome, and not reasonably calculated to lead to admissible evidence;
otherwise see Folders A, C, F, H, I, and J.

11. Any and all Documents and Communications in the custody and control of
DOC that comprise the complete ACISS Investigative Report Logs (33 pages)
which mention or discuss Randal Jordan Aparo or any witness or witnesses who
provided information in connection with the investigation of Randal Jordan Aparo.

      See Folders A, F, I, and L.


                                         5
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 109 of 138




12. Any and all Documents and Communications in the custody and control of
DOC that comprise certified copies of the following DOC procedures as of
September 19, 2010:

      a.    DC Procedure Title 33-602.10 (5)(B)(1);

      b.    DC Procedure Title 33-602.10 (21)(3)(C)(B);

      c.    DC Procedure Title 33-602.10 (21)(3)(C)(O)(1);

      d.    DC Procedure Title 33-602.10 (21)(3)(C)(O)(3)(b)&(c);

      e.    DC Procedure Title 33-208.002 Rules of Conduct.

     These Procedures are as easily available and accessible to Plaintiff as the
Defendants, and can be found online from DOC’s website.

13. Any and all Documents and Communications in the custody and control of
DOC received from Lisa Flannagan M.D. which relate to Randal Jordan Aparo or
the investigation of the death of Randal Jordan Aparo including but not limited to;

     a.     Complaint filed by Lisa Flanagan, M.D. concerning the death of
Randal Jordan Aparo;

      b.    Any witness statements of Hantz

     c.   C. Hercule (Medical Executive Director) and Corrections Officer
Dave Be Wallace, referenced in BSI Case Summary 10-10857

      For 13a-c: see Folders A and E.

14. Any and all Documents and Communications in the custody and control of
DOC which would indicate the date that all investigative files regarding the death
of Randal Jordan Aparo became public records pursuant to Florida Statute 119, and
available without exemption.

      See Folder A (Activity Reports)




                                         6
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 110 of 138




15. Any and all Documents and Communications in the custody and control of
DOC which would indicate the date that a state criminal or federal grand jury
investigation commenced concerning the death of Randal Jordan Aparo.

      None.

16. Any and all Documents and Communications in the custody and control of
DOC which would indicate the date that the State of Florida had completed any
criminal investigation concerning the death of Randal Jordan Aparo making the
records of such investigation open to the public.

      See Folder L.

17. Any and all Documents and Communications in the custody and control of
DOC which would indicate the date that the Federal Bureau Investigation and/or
grand jury investigation commenced concerning the death of Randal Jordan Aparo.

      See Folder L.

18. Any and all Documents and Communications in the custody and control of
DOC which would list the date that Randal Jordan Aparo’s death was first listed on
the Florida Department of Corrections Inmate Mortality website, at
http://www.dc.state.fl.us/pub/mortality/year.html?year=2010, as involving an
“Opened FBI/FDLE” investigation.

      See Folder M.

19. Any and all Documents and Communications in the custody and control of
DOC which indicate that the death of Randal Jordan Aparo or aspects related
thereto, as of the date of this discovery, is still under active investigation by the
FBI, FDLE or any state or federal grand jury.

      It is DOC’s understanding that there are no ongoing or “active investiga-
      tion[s] by the FBI, FDLE, or any state or federal grand jury.” Therefore, no
      such documents would exist.

20. Any and all Documents and Communications in the custody and control of
DOC which indicate that the death of Randal Jordan Aparo or aspects related
thereto, as of the date of this discovery, is not under active investigation by the


                                           7
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 111 of 138




FBI, FDLE or any state or federal grand jury as indicated on the March 15, 2017
version of the DOC Inmate Mortality website.

      See response to request 19 above.

21. Any and all Documents and Communications in the custody and control of
DOC which relate to the Memorandum of Understanding (MOU) which relates to
the investigation of inmates deaths and which was in effect on September 19, 2010.

      See Folder G.

22. Any and all Documents and Communications in the custody and control of
DOC consisting of the rough investigative notes of DOC inspector Eddie White,
Debbie Carter, and Jeff Bertera related to their investigation the death of Randall
Jordan Aparo, including but not limited to notes taken at a meeting which occurred
at Franklin Correctional Institute at 12:10 p.m. on September 20, 2010.

      See Folder A.

23. Any and all Documents and Communications in the custody and control of
DOC which consist of research undertaken by DOC during the time that Randal
Jordan Aparo was an inmate in the custody of DOC related to Osler Webber-
Rendu Syndrome.

      See Folder H above.

24. Any and all Documents and Communications in the custody and control of
DOC in the possession of DOC including Documents or Communication housed at
Jefferson Correctional Institute, which mention or discuss Randal Jordan Aparo or
William R. Aron (DC No. S12757) acting as informants in connection with
inmate/correction officer activity involving the joint introduction of contraband
into Jefferson Correctional Institute.

      None.

25. Any and all Documents and Communications in the custody and control of
DOC which comprise the unredacted and unedited Fixed Wing videos of the A-
Dorm housing on September 17,18,19, and 20, 2010.



                                          8
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 112 of 138




      DVDs will be copied by a professional copying service and delivered to
      Plaintiff’s counsel at their cost.

26. Any and all Documents and Communications in the custody and control of
DOC which comprise the unredacted and unedited Hand Held videos of the
administration of chemical agents on Randal Jordan Aparo on September 19, 2010.

      See response to request #25 above.

27. Any and all Documents and Communications which in the custody and
control of DOC comprise all photographs taken of Randal Jordan Aparo the A-
Dorm housing on September 18, 19, & 20, 2010.

      None.

28. Any and all Documents and Communications in the custody and control of
DOC which comprise the video surveillance of the basketball court at Franklin
Correctional Institute on September 15, 2010.

      None.

29. Any and all Documents and Communications in the custody and control of
DOC which comprise the video surveillance of the Franklin Correctional Institute
on September 17, 2010 at approximately 1:30 p.m. which would show Randal
Jordan Aparo falling to the ground while sitting on the bench.

      None.

30. Any and all Documents and Communications in the custody and control of
DOC which reference MINS Report No. 357290 and Administrative Appeal No.
10-6-31361.

      See Folder F.

31. Any and all Documents and Communications in the custody and control of
DOC which reference MINS or Incident Report Numbers;

      a.      0000357290;
      b.      0000357029;
      c.      0000356891;
                                        9
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 113 of 138




      d.      0000356879;
      e.      0000356871;
      f.      0000356537;
      g.      0000356372;
      h.      0000356325;
      i.      0000356224;
      j.      0000355880;
      k.      0000355583;
      l.      0000355361;
      m.      0000355279;
      n.      0000355233.

      See Folder F.

32. Any and all Documents and Communications in the custody and control of
DOC which reference incident number No. 36-4369.

      See Folder I.

33. Any and all Documents and Communications in the custody and control of
DOC which set forth the bed assignments for all inmates who, where housed in A-
Dorm housing on September 17, 18, 19, and 20, 2010.

      See Folder C.

34. Any and all Documents and Communications in the custody and control of
DOC which comprise notes interviews of inmates housed in A-Dorm housing on
September 17, 18, 19, and 20, 2010 or other persons including DOC personal or
other law enforcement.

      See Folder L.

35. Any and all Documents and Communications in the custody and control of
DOC which references or discuss a DOC Correctional Officer referred to a “Big
Jit.”

      None.




                                      10
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 114 of 138




36. Any and all Documents and Communications in the custody and control of
DOC which comprise all ACISS data which mention or discuss Randal Jordan
Aparo.

      See Folder A.

37. Any and all Documents and Communications in the custody and control of
DOC from any current or former DOC employees which indicate that it was their
belief that Randal Jordan Aparo was murdered or otherwise injured by corrections
officers at Franklin Correctional Institute on September 17, 18, and 19, 2010.

      None.

38. Any and all Documents and Communications in the custody and control of
DOC in the nature of interviews conducted by DOC or agents of the Florida
Department of Law Enforcement Officers taken from the following persons:

              a.   Pamela T. Householder R.N.;
              b.   Jashon Mobley;
              c.   Leon Sanchez Edwards;
              d.   George Edward Foxworth;
              e.   Mary Salono;
              f.   Lynda Adair;
              g.   Lucy Ann Franklin;
              h.   Rebecca Padgham;
              i.   Brian Fogarty;
              j.   Wilton R. Cloud (aka Ricky);
              k.   Anita Manning;
              l.   Lisa Mary Flannagan, M.D.;
              m.   James Angel;
              n.   Andrew Blare;
              o.   Raleigh M. Broadnax;
              p.   Clinton Brown;
              q.   Walter Cooper;
              r.   Erskine L Curry;
              s.   Dorian Fuller;
              t.   Joshua Griffen;
              u.   Gary Cliff McClain;
              v.   James D. Hamrick;
              w.   Roderick Haygood;
                                       11
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 115 of 138




        x.     Harold G. Baker;
        y.     Jeffrey Highsmith;
        z.     Michael Houston;
        aa.    Craig Middleton;
        bb.    Earl Porter;
        cc.    Jonnie Ravon;
        dd.    Harry Scott;
        ee.    Juan Thomas;
        ff.    Ola Melissa Riley;
        gg.    Bobby Shiver;
        hh.    Christopher Alan Spangler;
        ii.    Nikron Arunakal, M.D.;
        jj.    Lt. Rollin Suttle Austin;
        kk.    Harold G. Baker;
        ll.    Patricia Lemon;
        mm.    Martha Jones Green;
        nn.    Chad Evans Gillikin;
        oo.    James I. Hamm;
        pp.    Kenneth L. Malphurs;
        qq.    Joshua Lee Martina;
        rr.    Markeith Daniels;
        ss.    Hantz Hercule;
        tt.    Dave Wallace;
        uu.    Mohamad Choudhry, M.D.;
        vv.    Special Agent Michael Devaney;
        ww.    Special Agent Michael Kennedy;
        xx.    Jeffry Bertera;
        yy.    Debbie Arant Carter;
        zz.    Special Agent Supervisor Keith Wilmer;
        aaa.   Dan Richardson;
        bbb.   Amy George;
        ccc.   Crime Lab Analyst Auclar;
        ddd.   James Messer;
        eee.   Joseph Avram;
        fff.   Kevin Hampton;
        ggg.   Gary McClain;
        hhh.   Mitchel Brown;
        iii.   Patricia Cicirello;
        jjj.   Billy Tomlin;
        kkk.   Rebecca Wilkerson;
                                   12
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 116 of 138




           lll. Diane Andrews;
           mmm.       Margaret Summers.

     See Folders A and L.

39. Any and all Documents and Communications in the custody or control of
DOC, including DOC probation which would indicate the last known names and
addresses of:

     a.    Pamela T. Householder R.N.;
     b.    Jashon Mobley;
     c.    Leon Sanchez Edwards;
     d.    George Edward Foxworth;
     e.    Mary Salono;
     f.    Lynda Adair;
     g.    Lucy Ann Franklin;
     h.    Rebecca Padgham;
     i.    Brian Fogarty;
     j.    Wilton R. Cloud (aka Ricky);
     k.    Anita Manning;
     l.    Lisa Mary Flannagan, M.D.;
     m.    James Angel;
     n.    Andrew Blare;
     o.    Raleigh M. Broadnax;
     p.    Clinton Brown;
     q.    Walter Cooper;
     r.    Erskine L Curry;
     s.    Dorian Fuller;
     t.    Joshua Griffen;
     u.    Gary Cliff McClain;
     v.    James D. Hamrick;
     w.    Roderick Haygood;
     x.    Harold G. Baker;
     y.    Jeffrey Highsmith;
     z.    Michael Houston;
     aa.   Craig Middleton;
     bb.   Earl Porter;
     cc.   Jonnie Ravon;
     dd.   Harry Scott;
     ee.   Juan Thomas;
                                     13
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 117 of 138




  ff.  Ola Melissa Riley;
  gg. Bobby Shiver;
  hh. Christopher Alan Spangler;
  ii.  Nikron Arunakal, M.D.;
  jj.  Lt. Rollin Austin;
  kk. Harold G. Baker;
  ll.  Patricia Lemon;
  mm. Martha Jones Green;
  nn. Chad Evans Gillikin;
  oo. James I. Hamm;
  pp. Kenneth L. Malphurs;
  qq. Joshua Lee Martina;
  rr.  Markeith Daniels;
  ss.  Hantz Hercule;
  tt.  Dave Wallace;
  uu. Mohamad Choudhry, M.D.;
  vv. Special Agent Michael Devaney;
  ww. Special Agent Michael Kennedy;
  xx. Jeffry Bertera;
  yy. Debbie Arant Carter;
  zz. Special Agent Supervisor Keith Wilmer;
  aaa. Dan Richardson;
  bbb. Amy George;
  ccc. Crime Lab Analyst Auclar;
  ddd. James Messer;
  eee. Joseph Avram;
  fff. Kevin Hampton;
  ggg. Gary McClain;
  hhh. Mitchel Brown;
  iii. Patricia Cicirello;
  jjj. Billy Tomlin;
  kkk. Rebecca Wilkerson;
  lll. Diane Andrews;
  mmm.        Margaret Summers;
  nnn. Marlin Tomlin;
  ooo. Billy Tomlin;
  ppp. McKinley Womack;
  qqq. Audrey Massey;
  rrr.   John M. Jackson


                                 14
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 118 of 138




      DOC objects to this request with regard to current or former DOC
      employees whose addresses are protected from disclosure by law.

40. Any and all Documents and Communications in the custody and control of
DOC which would indicate the bunk assignments for all inmates assigned to A-
Dorm housing at Franklin Correctional Institute on September 17, 18, 19, and 20,
2010.

      See Folder C.

41. Any and all Documents and Communications in the custody and control of
DOC reflecting discipline administered to those persons named in Bureau of State
Investigation Case Summary Case No. 10-1-8057.

      See Folder A.

42. Any and all Documents and Communications in the custody and control of
DOC reflecting Communications from FBI Agent Teresa Gustafson to any person
employed by the DOC which mention or discuss Randal Jordan Aparo.

      See Folders B and L.

43. Any and all Documents and Communications in the custody and control of
DOC reflecting a meeting which occurred on October 9, 2013 in the custody and
control of DOC relating to the death of Randal Jordan Aparo.

      DOC objects to this request on the grounds that it is vague and ambiguous;
      otherwise, see Folders A and L.

44. Any and all Documents and Communications in the custody and control of
DOC in the nature of a 37 page timeline of the fixed wing videos and hand held
video in the possession, custody or control of the department of corrections.

      See Folder A.

45. Any and all Documents and Communications in the custody and control of
DOC comprising the DOC Inspector General file for Case No. 13-9886 including
but not limited to all reports from Margaret Summers.

      See Folder A.
                                       15
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 119 of 138




46. Any and all Documents and Communications in the custody and control of
DOC comprising the report of Margaret Summers, Crime Intelligence Analyst
regarding the Summary of Wing Video – Franklin C.I., 19/19/2010, 2nd Shift,
10:55AM – 3:45PM dated May 27, 2014.

     See Folder A.

47. Any and all Documents and Communications in the custody and control of
DOC comprising audio tape recordings of inmate phone calls made between
September 19, 2010 and December 31, 2010, which mentioned Randal Jordan
Aparo.

     See Folder D.

48. Any and all Documents and Communications in the custody and control of
DOC comprising or mentioning Florida Department of Law Enforcement file No.
20100102282.

     See Folder L.


                             DENNIS, JACKSON, MARTIN
                             & FONTELA, P.A.


                             By: /s/ William Peter Martin
                             Peter@djmf-law.com
                             FL Bar ID No. 0843024
                             1591 Summit Lake Drive, Suite 200
                             Tallahassee, FL 32317
                             (850) 422-3345
                             (850) 422-1325 (Fax)
                             Attorney for DOC and Defendant Andrews




                                     16
   Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 120 of 138




                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a copy of the above and foregoing has been

furnished via electronic mail on this 2nd day of June, 2017, to:

Steven R. Andrews, Esquire                  Brian C. Keri, Esquire
The Law Offices of Steven R. Andrews        1538 Metro Blvd., #A1
822 North Monroe Street                     Tallahassee, Florida 32308
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natalie@andrewslawoffice.com                Brown, Gillikin, Hamm, Hampton,
ryan@andrewslawoffice.com                   Martina and Spangler
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Goodwin, Greene, Housholder and
Riley



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                                       & FONTELA, P.A.

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                                       (850) 422-1325 (Fax)
                                       Attorneys for DOC and Defendant Andrews


                                          17
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 121 of 138




      EXHIBIT I
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 122 of 138                                                                                             EXHIBIT


                                                  f"'...                                                   ~ .
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                                                           FLORIDA DE·PARTMENT OF CORR:ECilONS
                                                             EMERGENCY ROOM RECORD
       Check one!         jf1nmate/POflt-U1e-of-Force Exam
                             0 Employee: 0             Post-Use-er-Force Exam OR                0   hljury OR           0   Physical Altercation
                             D VtsitorllnJury
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     This exam shall be perfonncd in the medical unit except Wider un11sual circumstaDCe. lujuries shall be documen!Od on the DC4.708, Diagram o/l'ljury. If
     a ~hysician/CA is not present at Ilic time of the exam, a physician/CA m111t rcvi~ this forro aod s!jj_o~~ worl<ing day.
     Time ofoccumenoc:                                                              Tame of exam::·__ Li.-2£-1../2-.L.------------
      Oescription of occurrence:
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      0 Other (requires description in Q_qe;Jnient summary). -
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      9-°CIO pain? If check-cd, where? OA < ...I<          ~
      Ar,r,
      c,




      T rcatment provided?     0   l\o




      Disposition:             0   Population                           0   lnfirm:uy       0   Hospital     0    R.escue     0   Other {explain):




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      DC#                                                                                                        Canary-Inspector General
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      Institution                                                                  F.mployec Distrlbntlon:       Whito-Pasonncl Fne
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                                                        lnoorpora!ed by Reference in Rule 33-(J()2.210, F.A.C.




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 123 of 138




     EXHIBIT J
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 124 of 138
                                                                                                                                   EXHIBIT
                                FF"""IDA DEPARTMENT OF CORIU:~toNS                                                               i - -J- -
                                      OFFICE OF HEAL TH SERVICE:S
                                               DIAGRAM OF INJURY




           Date of occurrence   '1 J 19 JtO          Time of occurrence             )   '31:S--
           D No injury identified

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       DC4-708 (Revised !/05)




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 125 of 138




   EXHIBIT K
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 126 of 138

                                                                           EXHIBIT

                                                                       I     K




                     FLORIDA DEPARTMENT OF CORRECTIONS
                     Cbronol~gical Record of Health    ca·re




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 127 of 138




    EXHIBIT L
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 128 of 138
                                                                                                                                                          EXHIBIT

                                                      __)                                                          i
                                                                                                                  _/
                                                                                                                                                             L
                                                          FLORIDA DEPARTMENT OF CORRECTIONS
                                                              EMERGENCY ROOM RECORD
      Check one:                Inmate/Post-Use-of-Force Ex-am
                           D    E mployee: D "Post-Use-of-Force Exam OR                           0    Injury OR         D   Physical A ltercation
                           0    Visitor/Injury
     AII inmates must re<:eive a complete assessment following a use of force_ This includes a visual inspection of the entire body to identify any sign of injury.
     This exam shall be performed in the medical unit except under w1usual circumstance. Injuries shall be documented on the DC4-708, Dil:lgrllm ofbljwy. If
     a ?hysic1ruv'CA. is not present at the time of the exam, a physician/CA must review this form and si(ilion~t working day.
     Time ofoccurrence:                                                              Time of exam:._ _, l___c.-2
                                                                                                              ~./.Q___...£.
                                                                                                                      _______________
     Description of occurrence:




     lnma1c showered without soap (if}\st-use of chr.mical agent)?            Yes         0   Refused         D    NIA
     Vital Signs:     Temperarurc      ~   f' I       Pulse     /Qg             Respiration           ()7)             Blood Pressure·------'-----
     A.nived via:    ~Ambulatory           0      Stretcher     0   Wheelchair       0    01ber:._ _ _ _ _ _ _ _ _ __ _ __ __ _ _ _ _ __

     Condition on arrival (check all that apply): [3-';\lert []--1:5.fiented x 4 (person. place. time, situation) ~ponding to questions verbally
     D Other (requires descripuon in ls.;essment summary)              -   1 1
     g-ao pain? lf checked, where?_...jf)b)Jo._..c._.J
                                                     ~c  ......._~~"=::!.ac"'--------------------------




     T reatmenl provided?       0   No



     Response to Treatment:




     Oisposuion:                0   Population                           0    Infirmary       0   Hosp11al    0    Rescue          0   Other (explain):

     Discharge 1"£:tions and Educario~:
       Noti            \
                            vy. ocbca.Q
     Health Cate Provider'~ Signature and Stamp:_ _L_j_         _)__:__J~_ll:'...l.&.:);:'.:.i_.l'..J;:.~~~L:__


     ~·~::ing :~
               hysician's Signature a~Stamp:                               aJ I                                         Datel!'ime:._ _ _ _ _ _ _ _ _ __

                                                                                    Inmate Distribution:          White--Health Record
     DC#        ;=.=                                                                                              Canary-Inspector General
     Date of Birth                                                                                                Pink-Local Requirements
     Institution             h-ai..,..y., y .f.!..N',) CZ:                          Employee Distribution:        White-Personnel File
                                                                                                                  Canary-Employee Copy
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     DC4-701C(Revjsed J0/\17)                                                       the Of!ioe of Health Services-Administration




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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 129 of 138




  EXHIBIT M
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 130 of 138
                                                                                                                                                           EXHIBIT

                                       F1       'IDA DEPARTMENT OF CORRE IONS
                                                  OFFICE OF HEALTH SERVICE~-
                                                                                                                                                      i - -M- - -
                                                      DlAGRAM OF INJURY




                                                                                                                            -·
                                                                                                                      I\.   1t




          Date ofoccurrence             q J /tjl ID                   Time of occurrence -~J~5~l_j::               ___
          0 No injury identified

     Description of injury -+m_.__....o.._._±:_,.)_,,~~----'N
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                                                                            of the Deputy A.ssistantSecrctary of Health Services Adminisir.ation
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Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 131 of 138




    EXHIBIT N
                  Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 132 of 138                                                            EXHIBIT

                                                                                                                                              I - -N- -
                                                    FLORIDA DEPARTMENT OF CORRECTIONS
                                                        EMERGENCY ROOM RECORD
 Check one:          J8j""Inmate/Post-Use-of-Force Exam
                      D Employee: D                Post-Use-of-Force Exam OR                 D Injury          OR    0    Physical Altercation
                      D Visitor/Injury
1\11 inmates must receive a complete assessment following a use of force. This includes a visual inspection of the entire body to identify any sign of injury.
This exam shall be perfonned jn the medical unit except under unusual circumstance. Injuries shall be docwnented on the DC4a708, Diagram ofInjury. lf
a :Physician/CA is not prese~at  e tj.pie of.tile ex~bysician/CA must revie:V this form and Si(il~On ~t working day.
Time of occurrence:         _(lfD ~ ~DD                                       Time ofexam: _ __.L~__:)--""-,_/.2_....._
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Description of occuuence:                                        '
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Inmate showered without soap (if post-use of chemical agent)?             Yes        D    Refused          D   N/A
Vital Signs:     Temperature     C} '{ 1        Pulse     /Q g             Respiration         87)              Blood Pressure·- -- ----"------
Arrived via:    ~mbulatory            0     Stretcher      0    Wheelchair       0    Other:._ _ _ __ _ _ _ _ __ _ _ __ __ _ __ _

Condition on anival (check all that apply): [$'Alert G-'Cfriented x 4 (person, place, time, situation) ~ponding to questions verbally
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                                           -'o r""""'J'"'<-""'------1~~=
g--c10 pain? If checked, where?_ _,.f)=-'.......                       ~"'----------------------------




  w._ c_o oil -
Physician notified?        0   No

Treatment provided?        0   No




 Disposition:              0   Population                                                    Hospital      0    Rescue            Other (explain):


 Discharge Instructions and Education~
   N o+:\k\ vv. o.clt c

 Reviewing Physician's Signature and Stamp:                           .      I                                      Dateffirne:_ _ _ _ _ _ _ __ __


 Name
 DC#
      ·,~~~~
           =
                                                                                 Inmate Distribution:          White-Health Record
                                                                                                               Canary-Inspector General
 Date of Birth                                                                                                 Pink-Local Requirements
 Institution             G--~                           C?\:                     Employee Distrib ution:       White-Persoruiel File
                                                                                                               Canary-Employee Copy
                                                                                                               Pink-DESTROY


                                                                                 This form is not to be amended, revised, or altered without approval of
 DC4-70IC (Revised 10/07)                                                                                                DOC Med Recs from ME-07
                                                                                 the Office of Health Services-Administration
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 133 of 138




   EXHIBIT O
      Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 134 of 138
                                                                                                   EXHIBIT

                       FLORIDA DEPARTMENT OF CORRECTIONS                                              0
                            OFFICE OF HEALTH SERVICES
                               DIAGRAM OF INJURY




  Date of occurrence   Ci J19l10                                     5. . . . . .
                                                           ) l:S--_..___
                                     Time of occurrence _ _._

  D No injury identified

Descriptionofinj~C>~
D°'-l.JL,
                    Not;
             ~- _,~ .
                         ~~ ~
                       __a~-<>_
                                                                                    po"okxioR ,




                                         This form is not to be amended, revised, or altered without approval
                                                                               DOC Med Recs from ME-09
                                         or the Deputy Assistant Secretary or Health Services Administration
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 135 of 138




    EXHIBIT P
    Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 136 of 138
                                                                                      EXHIBIT

                                                                               I        P




                     FLORIDA DEPARTMENT OF CORRECTIONS
                     Chronol~gical   Record of Health Care
              1
 Alleroies:




A-T37895 TM 09 11/10/2009                             S- Subjective Data
                             ----                     0- Objective Data
JORDAN-APARO, RANDALL                                 A- Assessment of Sand 0 Daca
                          DD---                       P- Plan
W/M DOB                                               E-Educa'*9o Med Rm from ME-04
Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 137 of 138




   EXHIBIT Q
               Case 4:16-cv-00584-RH-CAS Document 144 Filed 03/28/18 Page 138 of 138



                                              The Law Offices of
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                                                                                      Tallahassee, Florida 32303
Brian O. Finnerty
bfinnerty@andrewslawoffice.com                                                         Telephone (850) 681-6416
                                                                                       Facsimile (850) 681-6984


                                                       November 24, 2014


         W. Peter Martin, Esq.
         Dennis, Jackson, Martin & Fontela, P.A.
         1591 Summit Lake Drive, Suite 200
         Tallahassee, FL 32317


                    Re:          Estate of Randall Jordan-Aparo


         Dear Peter:

                I need a Certificate of Completeness for the medical records of Randall Jordan-Aparo
         produced on September 25, 2014. Also, I would like to look at the original pen and ink medical
         records for Randall Jordan-Aparo. I would like to get this done as soon as possible.

                                                                  Sincerely,

                                                                  /s/ Steven R Andrews

                                                                  Steven R. Andrews

         SRA/ns
